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Deloitte Financial Advisory Services LLP
555 12th Street NW Ste 400
Washington, DC 20004-1207
Telephone: 202.220.2120
Facsimile: 855.405.2590
Steven Stanton

Financial Advisory Services Provider

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------------- |
In re:                                                          |
                                                                | Chapter 11
WESTINGHOUSE ELECTRIC COMPANY                                   |
LLC, et al., 1                                                  | Case No. 17-10751 (MEW)
                                  Debtors.                      |
                                                                | (Jointly Administered)
--------------------------------------------------------------- |

       FIRST COMBINED MONTHLY FEE STATEMENT OF DELOITTE FINANCIAL
      ADVISORY SERVICES LLP FOR COMPENSATION FOR SERVICES RENDERED
      AND REIMBURSEMENT OF EXPENSES INCURRED AS FINANCIAL ADVISORY
              SERVICES PROVIDER TO THE DEBTORS FOR THE PERIOD
                  FROM MARCH 29, 2017 THROUGH JUNE 30, 2017
Name of Applicant:                                                        Deloitte Financial Advisory Services LLP
Authorized to Provide Services as:                                        Financial Advisory Services Provider
Date of Retention:                                                        Nunc Pro Tunc to March 29, 2017
Period for which Compensation and                                          March 29, 2017 through June 30, 2017
Reimbursement is Sought:
Amount of Compensation Sought as                                                                              $212,481.70
Actual, Reasonable, and Necessary (100%):
Amount of Expense Reimbursement Sought:                                                                           $8,073.53
Total Amount of Fees and Expense Reimbursement
Sought as Actual, Reasonable and Necessary (100%):                                                             $220,555.23

Less 20% Holdback:                                                                                              $42,496.34
Total Fees and Expenses Due:                                                                                   $178,058.89

1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification number, if any, are:
Westinghouse Electric Company LLC (0933), CE Nuclear Power International, Inc. (8833), Fauske and Associates LLC (8538), Field
Services, LLC (2550), Nuclear Technology Solutions LLC (1921), PaR Nuclear Holding Co., Inc. (7944), PaR Nuclear, Inc. (6586),
PCI Energy Services LLC (9100), Shaw Global Services, LLC (0436), Shaw Nuclear Services, Inc. (6250), Stone & Webster Asia Inc.
(1348), Stone & Webster Construction Inc. (1673), Stone & Webster International Inc. (1586), Stone & Webster Services LLC (5448),
Toshiba Nuclear Energy Holdings (UK) Limited (N/A), TSB Nuclear Energy Services Inc. (2348), WEC Carolina Energy Solutions,
Inc. (8735), WEC Carolina Energy Solutions, LLC (2002), WEC Engineering Services Inc. (6759), WEC Equipment & Machining
Solutions, LLC (3135), WEC Specialty LLC (N/A), WEC Welding and Machining, LLC (8771), WECTEC Contractors Inc. (4168),
WECTEC Global Project Services Inc. (8572), WECTEC LLC (6222), WECTEC Staffing Services LLC (4135), Westinghouse Energy
Systems LLC (0328), Westinghouse Industry Products International Company LLC (3909), Westinghouse International Technology
LLC (N/A), and Westinghouse Technology Licensing Company LLC (5961). The Debtors’ principal offices are located at 1000
Westinghouse Drive, Cranberry Township, Pennsylvania 16066.
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                    SUMMARY OF MONTHLY FEES AND EXPENSES

     Time Period                 Fees                  Expenses               Total Amount

  03/29/17 – 04/30/17              $113,949.50                 $5,642.27           $119,591.77
  05/01/17 – 05/31/17               $31,826.10                     $0.00            $31,826.10
  06/01/17 – 06/30/17               $66,706.10                 $2,431.26            $69,543.66
        Total                      $212,481.70                 $8,073.53           $220,555.23


                             CUMULATIVE TIME SUMMARY
                    For the Period of March 29, 2017 through April 30, 2017

                                                     Total        Hourly
    Name                      Position                                         Total Fees
                                                     Hours         Rate
    Collins, Bryan            Partner/Principal        8.00          $592       $4,736.00
    Minars, Scott             Partner/Principal       31.30          $592      $18,529.60
    Cohen, Mark               Managing Director        5.30          $592       $3,137.60
    Johnston, Josh            Managing Director        3.60          $592       $2,131.20
    Sasso, Anthony            Managing Director       32.30          $592      $19,121.60
    Sasso, Anthony - Travel   Managing Director        7.00          $269       $2,072.00
    Stafford, Ted             Sr. Manager             35.90          $513      $18,416.70
    Strahle, Robert           Sr. Manager              3.00          $513       $1,539.00
    McGonigle, David          Manager                  7.40          $473       $3,500.20
    Sakuma, Takeru            Senior Consultant       20.60          $406       $8,363.60
    Hommen, Kelly             Consultant               2.50          $340         $850.00
    Letts, Joshua             Consultant              92.80          $340      $31,552.00
    Total Fees                                        249.70                  $113,949.50



                    CUMULATIVE FEES BY CATEGORY SUMMARY
                    For the Period of March 29, 2017 through April 30, 2017

   Project Categories                                  Total Hours               Total Fees
   Accounting Consultative Services                           16.00              $9,364.90
   Litigation                                                173.50             $71,089.60
   Non-Working Travel                                          7.00              $2,072.00
   Preparation of Fee Applications                             0.60                $283.80
   Project Bluefin - Post Closing                             47.60             $28,179.20
   Tax Consultative Services                                   5.00              $2,960.00
   Total Fees                                                  249.70          $113,949.50

   Average Billing Rate: $465.34


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                             CUMULATIVE TIME SUMMARY
                      For the Period of May 1, 2017 through May 31, 2017

                                                     Total       Hourly
   Name                         Position                                   Total Fees
                                                     Hours        Rate
   Minars, Scott                Partner/Principal      9.50         $592     $5,624.00
   Cohen, Mark                  Managing Director      4.50         $592     $2,664.00
   Johnston, Josh               Managing Director      4.30         $592     $2,545.60
   Stafford, Ted                Sr. Manager           11.80         $513     $6,053.40
   Strahle, Robert              Sr. Manager            1.20         $513       $615.60
   McGonigle, David             Manager               19.50         $473     $9,223.50
   Hommen, Kelly                Consultant             1.30         $340       $442.00
   Letts, Joshua                Consultant            13.70         $340     $4,658.00
   Total Fees                                          65.80               $31,826.10



                  CUMULATIVE FEES BY CATEGORY SUMMARY
                   For the Period of May 1, 2017 through May 31, 2017

   Project Categories                                 Total Hours           Total Fees
   Litigation                                                59.80         $28,988.10
   Firm Retention                                             6.00          $2,838.00
   Total Fees                                                  65.80       $31,826.10

   Average Billing Rate: $483.67




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                             CUMULATIVE TIME SUMMARY
                      For the Period of June 1, 2017 through June 30, 2017

                                                      Total        Hourly
   Name                           Position                                   Total Fees
                                                      Hours         Rate
   Minars, Scott                  Partner/Principal    18.30          $592    $10,833.60
   Cohen, Mark                    Managing             11.60          $592     $6,867.20
   Stanton, Steven                Managing              6.20          $592     $3,670.40
   Larson, Jen                    Sr. Manager          15.90          $513     $8,156.70
   Stafford, Ted                  Sr. Manager          13.90          $513     $7,130.70
   Stafford, Ted - Travel         Sr. Manager           4.60          $257     $1,179.90
   Strahle, Robert                Sr. Manager           9.50          $513     $4,873.50
   McGonigle, David               Manager              33.70          $473    $15,940.10
   Cooper, Carla                  Senior               16.60          $350     $5,810.00
   Hommen, Kelly                  Consultant            3.80          $340     $1,292.00
   Total Fees                                          136.90                $66,706.10



                    CUMULATIVE FEES BY CATEGORY SUMMARY
                     For the Period of June 1, 2017 through June 30, 2017

   Project Categories                                  Total Hours             Total Fees
   Accounting Consultative Services                            3.70            $1,881.00
   Litigation                                                112.00           $57,835.20
   Non-Working Travel                                          4.60            $1,179.90
   Preparation of Fee Applications                            16.60            $5,810.00
   Total Fees                                                   136.90        $66,706.10

   Average Billing Rate: $487.26




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                          CUMULATIVE EXPENSE SUMMARY
                   For the Period of March 29, 2017 through April 30, 2017

    Description                                                                Amount

    Airfare                                                                   $3,176.15
    Ground Transportation                                                     $1,209.33
    Hotel                                                                     $1,017.96
    Meals                                                                      $231.22
    Telephone, Conference                                                        $7.61

    Grand Total                                                               $5,642.27




                          CUMULATIVE EXPENSE SUMMARY
                     For the Period of June 1, 2017 through June 30, 2017

   Description                                                                Amount

   Airfare                                                                     $785.41
   Ground Transportation                                                       $922.12
   Hotel                                                                       $700.00
   Internet Access while Traveling                                              $16.00
   Meals                                                                         $7.73

   Grand Total                                                               $2,431.26




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                         Westinghouse Electric Company
                      Deloitte Financial Advisory Services LLP
                   Fees Sorted by Category for the Fee Period
                                    March 29, 2017 - April 30, 2017

Date                        Description                                 Rate    Hours      Fees

Accounting Consultative Services
03/29/2017
   Minars, Scott            Researched accounting issues              $592.00     1.4    $828.80
                            pertaining to bankruptcy reporting
                            issues
   Minars, Scott            Discussed status of WEC bankruptcy        $592.00     0.8    $473.60
                            and other ancillary accounting issues
                            on a call with T. Baird (WEC).
03/30/2017
   Minars, Scott            Discussed accounting issues               $592.00     0.3    $177.60
                            pertaining to bankruptcy reporting with
                            T. Sasso (Deloitte)
   Sasso, Anthony           Discussed accounting issues               $592.00     0.3    $177.60
                            pertaining to bankruptcy reporting with
                            S. Minars (Deloitte)
03/31/2017
   McGonigle, David         Meeting with T. Sasso, S. Minars          $473.00     0.9    $425.70
                            (Deloitte) and C. Weber (WEC) to
                            discuss current status of bankruptcy
                            process as it relates to financial
                            reporting and walked through financial
                            reporting requirements for accounting
                            for bankruptcy
   Minars, Scott            Meeting with T. Sasso, D. McGonigle       $592.00     0.9    $532.80
                            (Deloitte) and C. Weber (WEC) to
                            discuss current status of bankruptcy
                            process as it relates to financial
                            reporting and walked through financial
                            reporting requirements for accounting
                            for bankruptcy
   Minars, Scott            Researched bankruptcy related             $592.00     0.2    $118.40
                            accounting issues pertaining to WEC.
   Sasso, Anthony           Meeting with D. McGonigle, S. Minars      $592.00     0.9    $532.80
                            (Deloitte) and C. Weber (WEC) to
                            discuss current status of bankruptcy
                            process as it relates to financial
                            reporting and walked through financial
                            reporting requirements for accounting
                            for bankruptcy




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                          Westinghouse Electric Company
                     Deloitte Financial Advisory Services LLP
                    Fees Sorted by Category for the Fee Period
                                      March 29, 2017 - April 30, 2017
Date                          Description                                 Rate    Hours       Fees

Accounting Consultative Services
04/18/2017
   Minars, Scott              Discussion with T. Baird (WEC)            $592.00     1.5    $888.00
                              regarding Sarbanes Oxley
                              implementation work
04/20/2017
   Minars, Scott              Follow-up discussion with T. Baird        $592.00     0.5    $296.00
                              (WEC) regarding SOX implementation
                              work
04/21/2017
   Minars, Scott              Call with T. Baird (WEC) to discuss       $592.00     0.5    $296.00
                              Independent Auditors ("IA") process
                              going-forward
   Subtotal for Accounting Consultative Services:                                   8.2   $4,747.30

Litigation
03/29/2017
   Cohen, Mark                Meeting to discuss project status and     $592.00     0.6    $355.20
                              dispute procedures with J. Johnston,
                              S. Minars, T. Stafford, R. Strahle, D.
                              McGonigle, J. Letts and K. Hommen
                              (Deloitte).
   Hommen, Kelly              Meeting to discuss project status and     $340.00     0.6    $204.00
                              dispute procedures with J. Johnston,
                              S. Minars, T. Stafford, R. Strahle, D.
                              McGonigle, J. Letts and M. Cohen
                              (Deloitte).
   Johnston, Josh             Meeting to discuss project status and     $592.00     0.6    $355.20
                              dispute procedures with M. Cohen, S.
                              Minars, T. Stafford, R. Strahle, D.
                              McGonigle, J. Letts and K. Hommen
                              (Deloitte).
   Letts, Joshua              Reviewed a portion of the total           $340.00     2.9    $986.00
                              population of emails pursuant to
                              discovery requests
   Letts, Joshua              Prepared listing of relevant discovery    $340.00     1.1    $374.00
                              documents based on current day's
                              analysis for review.




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                          Westinghouse Electric Company
                      Deloitte Financial Advisory Services LLP
                     Fees Sorted by Category for the Fee Period
                                    March 29, 2017 - April 30, 2017
Date                        Description                                 Rate    Hours      Fees

Litigation
03/29/2017
   Letts, Joshua            Meeting to discuss project status and     $340.00     0.6    $204.00
                            dispute procedures with J. Johnston,
                            S. Minars, T. Stafford, R. Strahle, D.
                            McGonigle, M. Cohen and K. Hommen
                            (Deloitte).
   Letts, Joshua            Updated template for documentation of     $340.00     2.1    $714.00
                            discovery requests
   McGonigle, David         Meeting to discuss project status and     $473.00     0.6    $283.80
                            dispute procedures with J. Johnston,
                            S. Minars, T. Stafford, M. Cohen, R.
                            Strahle, J. Letts and K. Hommen
                            (Deloitte).
   Minars, Scott            Meeting to discuss project status and     $592.00     0.6    $355.20
                            dispute procedures with J. Johnston,
                            R. Strahle, T. Stafford, M. Cohen, D.
                            McGonigle, J. Letts and K. Hommen
                            (Deloitte).
   Stafford, Ted            Meeting to discuss project status and     $513.00     0.6    $307.80
                            dispute procedures with J. Johnston,
                            S. Minars, M. Cohen, R. Strahle, D.
                            McGonigle, J. Letts and K. Hommen
                            (Deloitte).
   Strahle, Robert          Meeting to discuss project status and     $513.00     0.6    $307.80
                            dispute procedures with J. Johnston,
                            S. Minars, T. Stafford, M. Cohen, D.
                            McGonigle, J. Letts and K. Hommen
                            (Deloitte).
03/30/2017
   Cohen, Mark              Meeting to discuss discovery process      $592.00     0.3    $177.60
                            and timeline, including impact of
                            bankruptcy process with S. Minars, J.
                            Johnston, J. Letts, R. Strahle, T.
                            Stafford and D. McGonigle (Deloitte).
   Johnston, Josh           Meeting to discuss discovery process      $592.00     0.3    $177.60
                            and timeline, including impact of
                            bankruptcy process with S. Minars, M.
                            Cohen, R. Strahle, T. Stafford and D.
                            McGonigle (Deloitte).




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                         Westinghouse Electric Company
                      Deloitte Financial Advisory Services LLP
                   Fees Sorted by Category for the Fee Period
                                    March 29, 2017 - April 30, 2017
Date                        Description                                 Rate    Hours       Fees

Litigation
03/30/2017
   Letts, Joshua            Meeting to discuss discovery process      $340.00     0.3    $102.00
                            and timeline, including impact of
                            bankruptcy process with S. Minars, J.
                            Johnston, R. Strahle, T. Stafford and
                            D. McGonigle (Deloitte).
   Letts, Joshua            Reviewed a portion of the total           $340.00     2.8    $952.00
                            population of emails pursuant to
                            discovery requests
   Letts, Joshua            Prepared listing of relevant discovery    $340.00     1.2    $408.00
                            documents based on current day's
                            analysis for review.
   Letts, Joshua            Meeting to discuss discovery review       $340.00     0.3    $102.00
                            progress and next steps with D.
                            McGonigle (Deloitte).
   Letts, Joshua            Organized pertinent discovery             $340.00     3.0   $1,020.00
                            documents to date to facilitate review
   Letts, Joshua            Continued to organized pertinent          $340.00     1.0    $340.00
                            discovery documents to date to
                            facilitate review
   McGonigle, David         Updated discovery timeline calendar       $473.00     0.2     $94.60
   McGonigle, David         Meeting to discuss discovery process      $473.00     0.3    $141.90
                            and timeline, including impact of
                            bankruptcy process with S. Minars, J.
                            Johnston, J. Letts, R. Strahle, T.
                            Stafford and M. Cohen (Deloitte).
   McGonigle, David         Meeting to discuss discovery review       $473.00     0.3    $141.90
                            progress and next steps with J. Letts
                            (Deloitte).
   Minars, Scott            Meeting to discuss discovery process      $592.00     0.3    $177.60
                            and timeline, including impact of
                            bankruptcy process with M. Cohen, J.
                            Johnston, J. Letts, R. Strahle, T.
                            Stafford and D. McGonigle (Deloitte).
   Stafford, Ted            Meeting to discuss discovery process      $513.00     0.3    $153.90
                            and timeline, including impact of
                            bankruptcy process with S. Minars, J.
                            Johnston, J. Letts, R. Strahle and D.
                            McGonigle (Deloitte).
   Stafford, Ted            Performed review of email discovery       $513.00     0.4    $205.20
                            analysis.

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                          Westinghouse Electric Company
                      Deloitte Financial Advisory Services LLP
                     Fees Sorted by Category for the Fee Period
                                    March 29, 2017 - April 30, 2017
Date                        Description                                 Rate    Hours       Fees

Litigation
03/30/2017
   Strahle, Robert          Meeting to discuss discovery process      $513.00     0.3    $153.90
                            and timeline, including impact of
                            bankruptcy process with S. Minars, J.
                            Johnston, J. Letts, T. Stafford and D.
                            McGonigle (Deloitte).
03/31/2017
   Letts, Joshua            Meeting to discuss status update on       $340.00     0.3    $102.00
                            discovery review progress and timeline
                            with D. McGonigle (Deloitte).
   Letts, Joshua            Meeting to discuss status of discovery    $340.00     0.5    $170.00
                            review with T. Stafford and D.
                            McGonigle (Deloitte)
   Letts, Joshua            Drafted privilege log to facilitate       $340.00     3.0   $1,020.00
                            attorney-review of discovery
                            documents
   Letts, Joshua            Continued to draft privilege log to       $340.00     0.9    $306.00
                            facilitate attorney-review of discovery
                            documents
   Letts, Joshua            Reviewed a portion of the total           $340.00     2.9    $986.00
                            population of emails pursuant to
                            discovery requests
   Letts, Joshua            Prepared listing of relevant discovery    $340.00     1.0    $340.00
                            documents based on current day's
                            analysis for review.
   McGonigle, David         Meeting to discuss status update on       $473.00     0.3    $141.90
                            discovery review progress and timeline
                            with J. Letts (Deloitte).
   McGonigle, David         Meeting to discuss status of discovery    $473.00     0.5    $236.50
                            review with T. Stafford and J. Letts
                            (Deloitte)
   Stafford, Ted            Drafting of expert report related to      $513.00     2.9   $1,487.70
                            disputed items.
   Stafford, Ted            Meeting to discuss status of discovery    $513.00     0.5    $256.50
                            review with D. McGonigle and J. Letts
                            (Deloitte)
04/01/2017
   Letts, Joshua            Drafted privilege log related to          $340.00     0.5    $170.00
                            discovery requests



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                         Westinghouse Electric Company
                      Deloitte Financial Advisory Services LLP
                    Fees Sorted by Category for the Fee Period
                                    March 29, 2017 - April 30, 2017
Date                        Description                                 Rate    Hours       Fees

Litigation
04/02/2017
   Letts, Joshua            Created log of responsive items related   $340.00     0.5    $170.00
                            to discovery process for counsel
   Stafford, Ted            Reviewed the expert report related to     $513.00     1.5    $769.50
                            disputed items.
   Stafford, Ted            Updated the draft of the expert report    $513.00     2.7   $1,385.10
                            related to disputed items.
04/03/2017
   Hommen, Kelly            Meeting in Pittsburgh with J. Johnston,   $340.00     0.4    $136.00
                            S. Minars, T. Stafford, D. McGonigle
                            and K. Hommen (Deloitte) regarding
                            legal briefs being prepared by Foley
                            relating to Delware Supreme Court
                            proceedings, discovery process
                            update, and discussion on moving
                            forward.
   Johnston, Josh           Meeting in Pittsburgh with J. Johnston,   $592.00     0.4    $236.80
                            S. Minars, T. Stafford, D. McGonigle
                            and K. Hommen (Deloitte) regarding
                            legal briefs being prepared by Foley
                            relating to Delware Supreme Court
                            proceedings, discovery process
                            update, and discussion on moving
                            forward.
   Letts, Joshua            Created log of responsive items related   $340.00     2.4    $816.00
                            to discovery process for Foley
   McGonigle, David         Meeting in Pittsburgh with J. Johnston,   $473.00     0.4    $189.20
                            S. Minars, T. Stafford, D. McGonigle
                            and K. Hommen (Deloitte) regarding
                            legal briefs being prepared by Foley
                            relating to Delware Supreme Court
                            proceedings, discovery process
                            update, and discussion on moving
                            forward.
   McGonigle, David         Discussed discovery review process        $473.00     0.4    $189.20
                            with T. Stafford (Deloitte), D. Heffer
                            and S. Madava (Foley)




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                          Westinghouse Electric Company
                      Deloitte Financial Advisory Services LLP
                     Fees Sorted by Category for the Fee Period
                                    March 29, 2017 - April 30, 2017
Date                        Description                                 Rate    Hours       Fees

Litigation
04/03/2017
   Minars, Scott            Meeting in Pittsburgh with J. Johnston,   $592.00     0.4    $236.80
                            S. Minars, T. Stafford, D. McGonigle
                            and K. Hommen (Deloitte) regarding
                            legal briefs being prepared by Foley
                            relating to Delware Supreme Court
                            proceedings, discovery process
                            update, and discussion on moving
                            forward.
   Stafford, Ted            Review of email production of items       $513.00     1.9    $974.70
                            pertinent for discovery
   Stafford, Ted            Meeting in Pittsburgh with J. Johnston,   $513.00     0.4    $205.20
                            S. Minars, T. Stafford, D. McGonigle
                            and K. Hommen (Deloitte) regarding
                            legal briefs being prepared by Foley
                            relating to Delware Supreme Court
                            proceedings, discovery process
                            update, and discussion on moving
                            forward.
   Stafford, Ted            Review of email production of items       $513.00     1.7    $872.10
                            pertinent for discovery
   Stafford, Ted            Discussed discovery review process        $513.00     0.4    $205.20
                            with D. McGonigle (Deloitte), D. Heffer
                            and S. Madava (Foley)
   Stafford, Ted            Review of email production of items       $513.00     2.6   $1,333.80
                            pertinent for discovery
   Strahle, Robert          Meeting in Pittsburgh with J. Johnston,   $513.00     0.4    $205.20
                            S. Minars, T. Stafford, D. McGonigle
                            and K. Hommen (Deloitte) regarding
                            legal briefs being prepared by Foley
                            relating to Delware Supreme Court
                            proceedings, discovery process
                            update, and discussion on moving
                            forward.
04/04/2017
   Cohen, Mark              Call with Marcum, LLP to discuss the      $592.00     0.4    $236.80
                            current dispute schedule and potential
                            timing of deliverables going forward
   Letts, Joshua            Created log of responsive items related   $340.00     3.0   $1,020.00
                            to discovery process for Foley
   Letts, Joshua            Reviewed log of responsive items          $340.00     0.3    $102.00
                            related to discovery process

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Litigation
04/04/2017
   Letts, Joshua           Pursuant to discovery determination by    $340.00     0.6    $204.00
                           independent auditor, reviewed emails
                           related to discovery request 7.b
   Letts, Joshua           Updated discovery log with Deloitte       $340.00     0.9    $306.00
                           professionals pursuant to D. Heffer and
                           Y. Aronoff (Foley) comments
   Stafford, Ted           Reviewed documents related to             $513.00     1.2    $615.60
                           discovery requests pursuant to
                           discovery determination by
                           independent auditor
   Stafford, Ted           Review of email production of items       $513.00     0.4    $205.20
                           pertinent for discovery
04/05/2017
   Cohen, Mark             Meeting to discuss current dispute        $592.00     0.5    $296.00
                           timeline and potential impact the
                           bankruptcy will have on the process
                           with J. Johnston, S. Minars, T.
                           Stafford, R. Strahle, D. McGonigle, J.
                           Letts and K. Hommen (Deloitte).
   Hommen, Kelly           Meeting to discuss current dispute        $340.00     0.5    $170.00
                           timeline and potential impact the
                           bankruptcy will have on the process
                           with J. Johnston, S. Minars, T.
                           Stafford, R. Strahle, D. McGonigle, J.
                           Letts and M. Cohen (Deloitte).
   Johnston, Josh          Meeting to discuss current dispute        $592.00     0.5    $296.00
                           timeline and potential impact the
                           bankruptcy will have on the process
                           with M. Cohen, S. Minars, T. Stafford,
                           R. Strahle, D. McGonigle, J. Letts and
                           K. Hommen (Deloitte).
   Letts, Joshua           Meeting to discuss current dispute        $340.00     0.5    $170.00
                           timeline and potential impact the
                           bankruptcy will have on the process
                           with J. Johnston, S. Minars, T.
                           Stafford, R. Strahle, D. McGonigle, M.
                           Cohen and K. Hommen (Deloitte).
   Letts, Joshua           Updated responsive documents log          $340.00     2.1    $714.00
                           related to discovery for Foley



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Litigation
04/05/2017
   Letts, Joshua            Call with T. Stafford (Deloitte) to        $340.00     0.9    $306.00
                            discuss the impact of the bankruptcy
                            on scheduling and workload (i.e. what
                            to focus on going forward)
   McGonigle, David         Meeting to discuss current dispute         $473.00     0.5    $236.50
                            timeline and potential impact the
                            bankruptcy will have on the process
                            with J. Johnston, S. Minars, T.
                            Stafford, M. Cohen, R. Strahle, J. Letts
                            and K. Hommen (Deloitte).
   Minars, Scott            Meeting to discuss current dispute         $592.00     0.5    $296.00
                            timeline and potential impact the
                            bankruptcy will have on the process
                            with J. Johnston, R. Strahle, T.
                            Stafford, M. Cohen, D. McGonigle, J.
                            Letts and K. Hommen (Deloitte).
   Sakuma, Takeru           Reviewed discovery requests to assist      $406.00     2.0    $812.00
                            in identifying pertinent items
   Stafford, Ted            Meeting to discuss current dispute         $513.00     0.5    $256.50
                            timeline and potential impact the
                            bankruptcy will have on the process
                            with J. Johnston, S. Minars, M. Cohen,
                            R. Strahle, D. McGonigle, J. Letts and
                            K. Hommen (Deloitte).
   Stafford, Ted            Call with J. Letts (Deloitte) to discuss   $513.00     0.9    $461.70
                            the impact of the bankruptcy on
                            scheduling and workload (i.e. what to
                            focus on going forward)
   Strahle, Robert          Meeting to discuss current dispute         $513.00     0.5    $256.50
                            timeline and potential impact the
                            bankruptcy will have on the process
                            with J. Johnston, S. Minars, T.
                            Stafford, M. Cohen, D. McGonigle, J.
                            Letts and K. Hommen (Deloitte).
04/06/2017
   Letts, Joshua            Reviewed a portion of the total            $340.00     3.0   $1,020.00
                            population of emails pursuant to
                            discovery requests
   Letts, Joshua            Prepared listing of relevant discovery     $340.00     1.0    $340.00
                            documents for review based on last
                            two day's analysis

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Litigation
04/06/2017
   Letts, Joshua          Continued to review a portion of the       $340.00     2.5    $850.00
                          total population of emails pursuant to
                          discovery requests
   Stafford, Ted          Continue to review of email production     $513.00     0.7    $359.10
                          of items pertinent for discovery
   Stafford, Ted          Planned schedule of discovery review       $513.00     0.3    $153.90
                          process.
04/07/2017
   Letts, Joshua          Reviewed identified responsive             $340.00     0.4    $136.00
                          documents to prepare for call with Y.
                          Aronoff (Foley)
   Letts, Joshua          Further review of a portion of the total   $340.00     2.9    $986.00
                          population of emails pursuant to
                          discovery requests
   Letts, Joshua          Prepared listing of relevant discovery     $340.00     1.5    $510.00
                          documents for review based on last
                          two day's analysis
   Letts, Joshua          Continued review of a portion of the       $340.00     2.3    $782.00
                          total population of emails pursuant to
                          discovery requests
   Sakuma, Takeru         Reviewed database of Japanese              $406.00     0.5    $203.00
                          emails within Relativity database
                          relating to discovery proceeding
                          pursuant to Independent Auditor's
                          ruling.
   Stafford, Ted          Review of arbitration discovery            $513.00     0.3    $153.90
                          production.
   Stafford, Ted          Review of production log for discovery     $513.00     0.6    $307.80
                          process
04/10/2017
   Cohen, Mark            Meeting regarding status update on         $592.00     0.1     $59.20
                          bankruptcy proceedings and discovery
                          items with S. Minars, T. Stafford, J.
                          Letts and K. Hommen (Deloitte).
   Hommen, Kelly          Meeting regarding status update on         $340.00     0.1     $34.00
                          bankruptcy proceedings and discovery
                          items with S. Minars, T. Stafford, J.
                          Letts and M. Cohen (Deloitte).



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Litigation
04/10/2017
   Letts, Joshua           Reviewed a portion of the total           $340.00     3.0   $1,020.00
                           population of emails pursuant to
                           discovery requests
   Letts, Joshua           Prepared listing of relevant discovery    $340.00     1.0    $340.00
                           documents based on current day's
                           analysis for review.
   Letts, Joshua           Meeting regarding status update on        $340.00     0.1     $34.00
                           bankruptcy proceedings and discovery
                           items with S. Minars, T. Stafford, K.
                           Hommen and M. Cohen (Deloitte).
   Letts, Joshua           Reviewed Relativity review process to     $340.00     0.3    $102.00
                           assess open discovery items
                           remaining
   Letts, Joshua           Reviewed a portion of the total           $340.00     2.2    $748.00
                           population of emails pursuant to
                           discovery requests
   Minars, Scott           Meeting regarding status update on        $592.00     0.1     $59.20
                           bankruptcy proceedings and discovery
                           items with M. Cohen, T. Stafford, J.
                           Letts and K. Hommen (Deloitte).
   Stafford, Ted           Meeting regarding status update on        $513.00     0.1     $51.30
                           bankruptcy proceedings and discovery
                           items with S. Minars, K. Hommen, J.
                           Letts and M. Cohen (Deloitte).
   Stafford, Ted           Review of arbitration related discovery   $513.00     1.0    $513.00
                           production.
04/11/2017
   Cohen, Mark             Meeting to discuss current dispute        $592.00     0.3    $177.60
                           timeline and potential impact the
                           bankruptcy will have on the process
                           with J, Johnson, S. Minars and T.
                           Stafford (Deloitte).
   Johnston, Josh          Meeting to discuss current dispute        $592.00     0.3    $177.60
                           timeline and potential impact the
                           bankruptcy will have on the process
                           with S. Minars, M. Cohen and T.
                           Stafford (Deloitte).
   Letts, Joshua           Drafted responses to Y. Aronoff and D.    $340.00     1.0    $340.00
                           Heffer (Foley) regarding questions
                           pertaining to discovery review process

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Litigation
04/11/2017
   Letts, Joshua          Drafted summary of discovery review       $340.00     0.5    $170.00
                          items still remaining
   Letts, Joshua          Reviewed a portion of the total           $340.00     1.9    $646.00
                          population of emails pursuant to
                          discovery requests
   Letts, Joshua          Conitnued to review a portion of the      $340.00     2.1    $714.00
                          total population of emails pursuant to
                          discovery requests
   Letts, Joshua          Prepared listing of relevant discovery    $340.00     1.9    $646.00
                          documents for review based on last
                          two day's analysis
   Minars, Scott          Meeting to discuss current dispute        $592.00     0.3    $177.60
                          timeline and potential impact the
                          bankruptcy will have on the process
                          with J, Johnson, M. Cohen and T.
                          Stafford (Deloitte).
   Stafford, Ted          Meeting to discuss current dispute        $513.00     0.3    $153.90
                          timeline and potential impact the
                          bankruptcy will have on the process
                          with J, Johnson, S. Minars and M.
                          Cohen (Deloitte).
   Stafford, Ted          Review of arbitration discovery           $513.00     1.2    $615.60
                          production with Y. Aronoff (Foley)
   Stafford, Ted          Review of arbitration related discovery   $513.00     1.0    $513.00
                          production.
04/12/2017
   Letts, Joshua          Reviewed a portion of the total           $340.00     1.3    $442.00
                          population of emails pursuant to
                          discovery requests
   Letts, Joshua          Continued to review a portion of the      $340.00     2.9    $986.00
                          total population of emails pursuant to
                          discovery requests
   Letts, Joshua          Prepared listing of relevant discovery    $340.00     1.4    $476.00
                          documents for review based on last
                          two day's analysis
   Letts, Joshua          Prepared listing of relevant discovery    $340.00     2.0    $680.00
                          documents for review based on day's
                          analysis



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Litigation
04/12/2017
   Sakuma, Takeru           Translated into Japanese a portion of     $406.00     1.8    $730.80
                            the total population of Japanese emails
                            pertaining to discovery requests
   Sakuma, Takeru           Continued to translate Japanese a         $406.00     2.6   $1,055.60
                            portion of the total population of
                            Japanese emails pertaining to
                            discovery requests
   Sakuma, Takeru           Summarized pertinent Japanese             $406.00     0.6    $243.60
                            emails for the discovery requests
   Stafford, Ted            Review of arbitration related discovery   $513.00     1.5    $769.50
                            production.
04/13/2017
   Cohen, Mark              Call with C. Daigle (Marsh Risk           $592.00     0.2    $118.40
                            Consulting) regarding status of
                            bankruptcy, court proceeding and
                            independent auditor process.
   Letts, Joshua            Meeting with D. McGonigle (Deloitte) to   $340.00     0.3    $102.00
                            discuss external change order (ECO)
                            selections for the estimated at
                            completion (EAC) Revenue exhibit
   Letts, Joshua            Reviewed current EAC revenue exhibit      $340.00     0.4    $136.00
   Letts, Joshua            Updated EAC revenue exhibit               $340.00     3.0   $1,020.00
   Letts, Joshua            Updated documentation for external        $340.00     1.5    $510.00
                            change order (ECO) selections
   Letts, Joshua            Reviewed identified Japanese              $340.00     0.2     $68.00
                            documents from T. Sakuma (Deloitte)
   McGonigle, David         Meeting with J. Letts (Deloitte) to       $473.00     0.3    $141.90
                            discuss external change order (ECO)
                            selections and other items related to
                            the EAC Revenue exhibit
   Sakuma, Takeru           Translated into Japanese a portion of     $406.00     2.5   $1,015.00
                            the total population of Japanese emails
                            pertaining to discovery requests
   Sakuma, Takeru           Continued to translate Japanese a         $406.00     0.9    $365.40
                            portion of the total population of
                            Japanese emails pertaining to
                            discovery requests
   Stafford, Ted            Review of arbitration related discovery   $513.00     0.2    $102.60
                            production.

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Litigation
04/14/2017
   Letts, Joshua           Reviewed a portion of the total email     $340.00     0.4    $136.00
                           population pertaining to discovery
                           requests
   Sakuma, Takeru          Translated Japanese a portion of the      $406.00     2.7   $1,096.20
                           total population of Japanese emails
                           pertaining to discovery requests
   Sakuma, Takeru          Continued to translate Japanese a         $406.00     2.2    $893.20
                           portion of the total population of
                           Japanese emails pertaining to
                           discovery requests
   Sakuma, Takeru          Summarized pertinent Japanese             $406.00     1.1    $446.60
                           emails for the discovery requests
04/17/2017
   Cohen, Mark             Meeting to discuss project status,        $592.00     0.3    $177.60
                           including bankruptcy proceedings and
                           discovery review process with J.
                           Johnson, J. Letts, S. Minars, T.
                           Stafford, R. Strahle, D. McGonigle and
                           K. Hommen (Deloitte).
   Hommen, Kelly           Meeting to discuss project status,        $340.00     0.3    $102.00
                           including bankruptcy proceedings and
                           discovery review process with J.
                           Johnson, J. Letts, S. Minars, T.
                           Stafford, R. Strahle, D. McGonigle and
                           M. Cohen (Deloitte).
   Johnston, Josh          Meeting to discuss project status,        $592.00     0.3    $177.60
                           including bankruptcy proceedings and
                           discovery review process with J.
                           Johnson, M. Cohen, J. Letts, S.
                           Minars, T. Stafford, R. Strahle, D.
                           McGonigle and K. Hommen (Deloitte).
   Letts, Joshua           Reviewed Japanese translation of          $340.00     0.4    $136.00
                           discovery requests identified as
                           pertinent
   Letts, Joshua           Compared human vs machine                 $340.00     1.9    $646.00
                           translation of foreign documents
                           pursuant to discovery request
   Letts, Joshua           Reviewed a portion of the total email     $340.00     2.8    $952.00
                           population pertaining to discovery
                           requests


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Litigation
04/17/2017
   Letts, Joshua            Meeting to discuss project status,        $340.00     0.3    $102.00
                            including bankruptcy proceedings and
                            discovery review process with J.
                            Johnson, M. Cohen, S. Minars, T.
                            Stafford, R. Strahle, D. McGonigle and
                            K. Hommen (Deloitte).
   McGonigle, David         Meeting to discuss project status,        $473.00     0.3    $141.90
                            including bankruptcy proceedings and
                            discovery review process with J.
                            Johnson, J. Letts, S. Minars, T.
                            Stafford, M. Cohen, R. Strahle and K.
                            Hommen (Deloitte).
   Minars, Scott            Meeting to discuss project status,        $592.00     0.3    $177.60
                            including bankruptcy proceedings and
                            discovery review process with J.
                            Johnson, J. Letts, r. Strahle, T.
                            Stafford, M. Cohen, D. McGonigle and
                            K. Hommen (Deloitte).
   Sakuma, Takeru           Translated Japanese a portion of the      $406.00     2.5   $1,015.00
                            total population of Japanese emails
                            pertaining to discovery requests
   Sakuma, Takeru           Summarized pertinent Japanese             $406.00     0.6    $243.60
                            emails for the discovery requests
   Stafford, Ted            Performed review of electronic            $513.00     2.7   $1,385.10
                            document production for arbitration.
   Stafford, Ted            Meeting to discuss project status,        $513.00     0.3    $153.90
                            including bankruptcy proceedings and
                            discovery review process with J.
                            Johnson, J. Letts, S. Minars, M.
                            Cohen, R. Strahle, D. McGonigle and
                            K. Hommen (Deloitte).
   Strahle, Robert          Meeting to discuss project status,        $513.00     0.3    $153.90
                            including bankruptcy proceedings and
                            discovery review process with J.
                            Johnson, J. Letts, S. Minars, T.
                            Stafford, M. Cohen, D. McGonigle and
                            K. Hommen (Deloitte).




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Litigation
04/18/2017
   Cohen, Mark              Meeting to discuss the stay associated    $592.00     0.3    $177.60
                            with the bankruptcy, its impact on the
                            independent auditor process and
                            status of discovery with T. Stafford, J
                            Johnston, M. Cohen (Deloitte), T.
                            Baird, D. Mura (WEC) and D. Heffer
                            (Foley).
   Johnston, Josh           Meeting to discuss the stay associated    $592.00     0.3    $177.60
                            with the bankruptcy, its impact on the
                            independent auditor process and
                            status of discovery with T. Stafford, J
                            Johnston, M. Cohen (Deloitte), T.
                            Baird, D. Mura (WEC )and, D. Heffer
                            (Foley).
   McGonigle, David         Performed review of electronic            $473.00     0.4    $189.20
                            discovery review process for D. Heffer
                            (Foley).
   Stafford, Ted            Performed review of electronic            $513.00     0.8    $410.40
                            discovery production for arbitration.
   Stafford, Ted            Continued to perform review of            $513.00     0.5    $256.50
                            electronic discovery production for
                            arbitration.
   Stafford, Ted            Meeting to discuss the stay associated    $513.00     0.3    $153.90
                            with the bankruptcy, its impact on the
                            independent auditor process and
                            status of discovery with T. Stafford, J
                            Johnston, M. Cohen (Deloitte), T.
                            Baird, D. Mura (WEC), D. Heffer
                            (Foley).
04/19/2017
   Letts, Joshua            Meeting with D. McGonigle (Deloitte) to   $340.00     0.4    $136.00
                            discuss status of discovery review and
                            project timeline going forward.
   Letts, Joshua            Reviewed a portion of the total           $340.00     2.8    $952.00
                            population of emails pursuant to
                            discovery requests
   Letts, Joshua            Prepared listing of relevant discovery    $340.00     0.9    $306.00
                            documents for review based on last
                            two day's analysis



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Litigation
04/19/2017
   Letts, Joshua            Continued to review a portion of the      $340.00     0.4    $136.00
                            total population of emails pursuant to
                            discovery requests
   McGonigle, David         Meeting with J. Letts (Deloitte) to       $473.00     0.4    $189.20
                            discuss status of discovery review and
                            project timeline going forward.
   Stafford, Ted            Performed review of electronic            $513.00     0.4    $205.20
                            discovery production for arbitration.
04/20/2017
   Cohen, Mark              Internal meeting with J. Johnston, S.     $592.00     0.3    $177.60
                            Minars, R. Strahle, D. McGonigle and
                            T. Stafford (Deloitte) to discuss G.
                            Thornton's withdrawal as the
                            Independent Arbitrator and
                            expectations for the engagement going
                            forward
   Johnston, Josh           Internal meeting with M. Cohen, S.        $592.00     0.3    $177.60
                            Minars, D. McGonigle, R. Strahle and
                            T. Stafford (Deloitte) to discuss G.
                            Thornton's withdrawal as the
                            Independent Arbitrator and
                            expectations for the engagement going
                            forward
   McGonigle, David         Internal meeting with J. Johnston, S.     $473.00     0.3    $141.90
                            Minars, R. Strahle, M. T. Stafford and
                            M. Cohen (Deloitte) to discuss G.
                            Thornton's withdrawal as the
                            Independent Arbitrator and
                            expectations for the engagement going
                            forward
   Minars, Scott            Internal meeting with J. Johnston, T.     $592.00     0.3    $177.60
                            Stafford, R. Strahle, D. McGonigle and
                            M. Cohen (Deloitte) to discuss G.
                            Thornton's withdrawal as the
                            Independent Arbitrator and
                            expectations for the engagement going
                            forward




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Litigation
04/20/2017
   Stafford, Ted            Internal meeting with J. Johnston, S.      $513.00     0.3    $153.90
                            Minars, R. Strahle, D. McGonigle and
                            M. Cohen (Deloitte) to discuss G.
                            Thornton's withdrawal as the
                            Independent Arbitrator and
                            expectations for the engagement going
                            forward
   Strahle, Robert          Internal meeting with J. Johnston, S.      $513.00     0.3    $153.90
                            Minars, M. Cohen and T. Stafford
                            (Deloitte) to discuss G. Thornton's
                            withdrawal as the Independent
                            Arbitrator and expectations for the
                            engagement going forward
04/21/2017
   McGonigle, David         Updated organization and status of         $473.00     0.3    $141.90
                            expert report on disputed items to
                            facilitate transition.
   Stafford, Ted            Drafted responses to vendor for tape       $513.00     0.5    $256.50
                            recovery.
04/24/2017
   Cohen, Mark              Meeting to discuss potential               $592.00     0.4    $236.80
                            independent auditor replacements and
                            go-forward strategy with J. Johnston,
                            S. Minars, T. Stafford, R. Strahle, J.
                            Letts and K. Hommen (Deloitte).
   Hommen, Kelly            Meeting to discuss potential               $340.00     0.4    $136.00
                            independent auditor replacements and
                            go-forward strategy with J. Johnston,
                            S. Minars, M. Cohen, T. Stafford, R.
                            Strahle and J. Letts, (Deloitte).
   Johnston, Josh           Meeting to discuss potential               $592.00     0.4    $236.80
                            independent auditor replacements and
                            go-forward strategy with S. Minars, M.
                            Cohen, T. Stafford, R. Strahle, J. Letts
                            and K. Hommen (Deloitte).
   Letts, Joshua            Meeting to discuss potential               $340.00     0.4    $136.00
                            independent auditor replacements and
                            go-forward strategy with J. Johnston,
                            S. Minars, M. Cohen, T. Stafford, R.
                            Strahle and K. Hommen (Deloitte).


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                          Westinghouse Electric Company
                      Deloitte Financial Advisory Services LLP
                     Fees Sorted by Category for the Fee Period
                                    March 29, 2017 - April 30, 2017
Date                        Description                                   Rate    Hours      Fees

Litigation
04/24/2017
   Letts, Joshua            Internal call with D. McGonigle             $340.00     0.2     $68.00
                            (Deloitte) to discuss case status and
                            project timeline.
   McGonigle, David         Internal call with J. Letts (Deloitte) to   $473.00     0.2     $94.60
                            discuss case status and project
                            timeline.
   Minars, Scott            Meeting to discuss potential                $592.00     0.4    $236.80
                            independent auditor replacements and
                            go-forward strategy with J. Johnston,
                            R. Strahle, M. Cohen, T. Stafford, J.
                            Letts and K. Hommen (Deloitte).
   Stafford, Ted            Meeting to discuss potential                $513.00     0.4    $205.20
                            independent auditor replacements and
                            go-forward strategy with J. Johnston,
                            S. Minars, M. Cohen, R. Strahle, J.
                            Letts and K. Hommen (Deloitte).
   Strahle, Robert          Meeting to discuss potential                $513.00     0.4    $205.20
                            independent auditor replacements and
                            go-forward strategy with J. Johnston,
                            S. Minars, M. Cohen, T. Stafford, J.
                            Letts and K. Hommen (Deloitte).
04/25/2017
   Cohen, Mark              Research potential Independent              $592.00     0.6    $355.20
                            Auditor ("IA") candidates going forward
   Stafford, Ted            Analysis of discovery records for           $513.00     1.6    $820.80
                            arbitration proceeding.
04/26/2017
   Hommen, Kelly            Meeting to discuss project timeline and     $340.00     0.2     $68.00
                            updates on the bankruptcy
                            proceedings with J. Johnston, S.
                            Minars, R. Strahle, D. McGonigle and
                            J. Letts (Deloitte).
   Johnston, Josh           Meeting to discuss project timeline and     $592.00     0.2    $118.40
                            updates on the bankruptcy
                            proceedings with S. Minars, R. Strahle,
                            D. McGonigle, J. Letts and K. Hommen
                            (Deloitte).




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                          Westinghouse Electric Company
                      Deloitte Financial Advisory Services LLP
                     Fees Sorted by Category for the Fee Period
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Date                        Description                                 Rate    Hours      Fees

Litigation
04/26/2017
   Letts, Joshua            Meeting to discuss project timeline and   $340.00     0.2     $68.00
                            updates on the bankruptcy
                            proceedings with J. Johnston, S.
                            Minars, R. Strahle, D. McGonigle and
                            K. Hommen (Deloitte).
   McGonigle, David         Meeting to discuss project timeline and   $473.00     0.2     $94.60
                            updates on the bankruptcy
                            proceedings with J. Johnston, S.
                            Minars, R. Strahle, J. Letts and K.
                            Hommen (Deloitte).
   Minars, Scott            Meeting to discuss project timeline and   $592.00     0.2    $118.40
                            updates on the bankruptcy
                            proceedings with J. Johnston, R.
                            Strahle, D. McGonigle, J. Letts and K.
                            Hommen (Deloitte).
   Stafford, Ted            Collected electronic discovery details    $513.00     0.4    $205.20
                            for arbitration.
   Strahle, Robert          Meeting to discuss project timeline and   $513.00     0.2    $102.60
                            updates on the bankruptcy
                            proceedings with J. Johnston, S.
                            Minars, D. McGonigle, J. Letts and K.
                            Hommen (Deloitte).
04/27/2017
   Stafford, Ted            Analysis of independent auditors          $513.00     0.3    $153.90
                            options for arbitration.
04/28/2017
   Cohen, Mark              Meeting to discuss Independent            $592.00     0.5    $296.00
                            Auditor alternatives with S. Minars
                            (Deloitte)
   Cohen, Mark              Researched replacement independent        $592.00     0.5    $296.00
                            auditor suggestions provided by
                            Marcum
   Letts, Joshua            Reviewed initial findings on potential    $340.00     0.6    $204.00
                            independent auditors.
   Letts, Joshua            Researched potential independent          $340.00     2.8    $952.00
                            auditors that do not have conflicts
   Letts, Joshua            Updated listing of potential              $340.00     2.1    $714.00
                            independent auditors



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                              Westinghouse Electric Company
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                   Fees Sorted by Category for the Fee Period
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Date                             Description                                 Rate    Hours        Fees

Litigation
04/28/2017
   Minars, Scott                 Meeting to discuss Independent            $592.00     0.5     $296.00
                                 Auditor alternatives with M. Cohen
                                 (Deloitte)
   Sakuma, Takeru                Summarized pertinent Japanese             $406.00     0.6     $243.60
                                 emails for the discovery requests
   Stafford, Ted                 Researched potential Independent          $513.00     1.3     $666.90
                                 Auditors for arbitration proceedings.
   Subtotal for Litigation:                                                          173.5   $71,089.60

Non-Working Travel
04/24/2017
   Sasso, Anthony                Travel from Newark to Pittsburgh for      $296.00     3.0     $888.00
                                 bankruptcy accounting training with
                                 WEC accounting personnel
04/26/2017
   Sasso, Anthony                Travel from Pittsburgh to Newark -        $296.00     4.0    $1,184.00
                                 includes travel delay
   Subtotal for Non-Working Travel:                                                    7.0    $2,072.00

Preparation of Fee Applications
04/26/2017
   McGonigle, David              Compile and summarize Deloitte hours      $473.00     0.6     $283.80
                                 and fees since the bankruptcy filing.
   Subtotal for Preparation of Fee Applications:                                       0.6     $283.80

Project Bluefin - Post Closing
03/29/2017
   Sasso, Anthony                Reviewed WEC's public bankruptcy          $592.00     1.0     $592.00
                                 filings
03/31/2017
   Sasso, Anthony                Researched bankruptcy accounting          $592.00     0.1      $59.20
                                 issues pertaining to WEC




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                        Westinghouse Electric Company
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                   Fees Sorted by Category for the Fee Period
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Date                      Description                                  Rate    Hours       Fees

Project Bluefin - Post Closing
04/05/2017
   Minars, Scott          Researched issues related to               $592.00     0.5    $296.00
                          bankruptcy that pertain to WEC.
04/06/2017
   Minars, Scott          Call with T. Sasso (Deloitte) regarding    $592.00     1.0    $592.00
                          planning for training for WEC
                          management
   Sasso, Anthony         Call with S. Minars (Deloitte) regarding   $592.00     1.0    $592.00
                          planning for training for WEC
                          management
04/07/2017
   Sasso, Anthony         Developed training presentation to         $592.00     2.8   $1,657.60
                          present to WEC personnel pertaining
                          to bankruptcy financial reporting
   Sasso, Anthony         Continued to develop training              $592.00     2.2   $1,302.40
                          presentation to present to WEC
                          personnel pertaining to bankruptcy
                          financial reporting
04/12/2017
   Sasso, Anthony         Planning for bankruptcy training           $592.00     0.5    $296.00
                          session to present to WEC's
                          accounting personnel
04/17/2017
   Sasso, Anthony         Analyze internal controls related to       $592.00     1.0    $592.00
                          Chapter 11
04/19/2017
   Sasso, Anthony         Researched SOX related issues              $592.00     1.5    $888.00
                          relevant to WEC
04/20/2017
   Sasso, Anthony         Research WEC to assess accounting          $592.00     1.2    $710.40
                          issues that will pertain to the Company
                          during bankruptcy
04/24/2017
   Sasso, Anthony         Conducted company research to              $592.00     0.6    $355.20
                          assess percentage of completion
                          bankruptcy impacts




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                   Fees Sorted by Category for the Fee Period
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Date                      Description                                 Rate    Hours       Fees

Project Bluefin - Post Closing
04/24/2017
   Sasso, Anthony         Reviewed Company accounting               $592.00     2.1   $1,243.20
                          memos regarding percentage of
                          completion bankruptcy impacts
   Sasso, Anthony         Accounting research to assess POC         $592.00     0.3    $177.60
                          BK impacts
   Sasso, Anthony         Prepare training decks to be presented    $592.00     2.0   $1,184.00
                          to WEC's accounting personnel
                          regarding bankruptcy accounting items
                          pertaining to the WEC
04/25/2017
   Minars, Scott          Participated in training session for      $592.00     3.0   $1,776.00
                          WEC personnel pertaining to internal
                          audit bankruptcy impacts
   Minars, Scott          Continue to participated in training      $592.00     3.0   $1,776.00
                          session for WEC personnel pertaining
                          to internal audit bankruptcy impacts
   Minars, Scott          Reviewed material for training session    $592.00     2.0   $1,184.00
                          for WEC personnel pertaining to
                          internal audit bankruptcy impacts
   Sasso, Anthony         Prepare training decks to be presented    $592.00     2.0   $1,184.00
                          to WEC's accounting personnel
                          regarding bankruptcy accounting items
                          pertaining to the WEC
   Sasso, Anthony         Presented training session to WEC         $592.00     3.0   $1,776.00
                          personnel pertaining to internal audit
                          bankruptcy impacts
   Sasso, Anthony         Continued to present training session     $592.00     3.0   $1,776.00
                          to WEC personnel pertaining to
                          internal audit bankruptcy impacts
04/26/2017
   Minars, Scott          Participated in training session for      $592.00     3.0   $1,776.00
                          WEC personnel pertaining to internal
                          audit bankruptcy impacts
   Minars, Scott          Continue to participate in training       $592.00     2.2   $1,302.40
                          session for WEC personnel pertaining
                          to internal audit bankruptcy impacts




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                    Fees Sorted by Category for the Fee Period
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Date                            Description                                 Rate    Hours        Fees

Project Bluefin - Post Closing
04/26/2017
   Minars, Scott                Client meeting with D. Evankovich         $592.00     0.8     $473.60
                                (WEC), G. Yauch (Deloitte) and T.
                                Sasso (Deloitte) regarding bankruptcy
                                proceedings and project timeline
   Sasso, Anthony               Client meeting with D. Evankovich         $592.00     0.8     $473.60
                                (WEC), G. Yauch (Deloitte) and S.
                                Minars (Deloitte) regarding bankruptcy
                                proceedings and project timeline
   Sasso, Anthony               Presented training session to WEC         $592.00     3.0    $1,776.00
                                personnel pertaining to internal audit
                                bankruptcy impacts
   Sasso, Anthony               Continued to present training session     $592.00     1.0     $592.00
                                to WEC personnel pertaining to
                                internal audit bankruptcy impacts
04/27/2017
   Minars, Scott                Research related to accounting            $592.00     1.0     $592.00
                                matters for WEC bankruptcy
   Sasso, Anthony               Reviewed T. Baird (WEC) comments          $592.00     1.0     $592.00
                                to bankruptcy slides subsequent to
                                bankruptcy filing
04/28/2017
   Sasso, Anthony               Revised bankruptcy decks related to       $592.00     0.8     $473.60
                                bankruptcy filing based on T. Baird
                                (WEC) comments
   Sasso, Anthony               Responded to T. Baird (WEC)               $592.00     0.2     $118.40
                                regarding bankruptcy training deck
                                comments
   Subtotal for Project Bluefin - Post Closing:                                      47.6   $28,179.20

Tax Consultative Services
04/03/2017
   Collins, Bryan               Review of company's public                $592.00     1.0     $592.00
                                bankruptcy filing in preparation of
                                clients meeting related to bankruptcy
                                tax issues.




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                           Westinghouse Electric Company
                        Deloitte Financial Advisory Services LLP
                    Fees Sorted by Category for the Fee Period
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Date                            Description                                 Rate    Hours          Fees

Tax Consultative Services
04/04/2017
   Collins, Bryan               Review current financial position and     $592.00     0.9      $532.80
                                debt position to prepare for client
                                meetings related to bankruptcy tax
                                issues.
   Collins, Bryan               Prepare materials for discussion with     $592.00     1.3      $769.60
                                client regarding bankruptcy tax issues
   Collins, Bryan               Prepare materials for discussion with     $592.00     1.8     $1,065.60
                                client regarding planning a bankruptcy
                                emergence transaction
   Collins, Bryan               Meeting with S. Minars (Deloitte)         $592.00     3.0     $1,776.00
                                regarding tax related bankruptcy
                                issues
   Minars, Scott                Meeting with B. Collins (Deloitte)        $592.00     3.0     $1,776.00
                                regarding tax related bankruptcy
                                issues
   Minars, Scott                Review materials for tax related          $592.00     1.8     $1,065.60
                                bankruptcy issues with client
    Subtotal for Tax Consultative Services:                                          12.8     $7,577.60
Total                                                                               249.7   $113,949.50




                                              Recapitulation
        Name                                                    Rate       Hours            Fees
        Cohen, Mark                                        $592.00           5.3       $3,137.60
        Collins, Bryan                                     $592.00           8.0       $4,736.00
        Johnston, Josh                                     $592.00           3.6       $2,131.20
        Minars, Scott                                      $592.00          31.3      $18,529.60
        Sasso, Anthony                                     $592.00          32.3      $19,121.60
        Stafford, Ted                                      $513.00          35.9      $18,416.70
        Strahle, Robert                                    $513.00           3.0       $1,539.00
        McGonigle, David                                   $473.00           7.4       $3,500.20
        Sakuma, Takeru                                     $406.00          20.6       $8,363.60
        Hommen, Kelly                                      $340.00           2.5        $850.00

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                   Westinghouse Electric Company
                Deloitte Financial Advisory Services LLP
          Fees Sorted by Category for the Fee Period
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                                 Recapitulation
Name                                                 Rate       Hours         Fees
Letts, Joshua                                   $340.00          92.8    $31,552.00
Sasso, Anthony                                  $296.00           7.0     $2,072.00




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                        Westinghouse Electric Company
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            Expenses Sorted by Category for the Fee Period
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Category                 Date            Description                                            Amount



Airfare
                                         DELTA AIR LINES INC. JACKSONVI Coach class
                                         roundtrip airfare from New York to Pittsburgh for
 Tzavelis, Elias         03/29/2017                                                            $848.93
                                         travel for Westinghouse Electric Company for
                                         client meeting
                                         UNITED AIRLINES JACKSONVI Rondtrip Coach
                                         airfare for travel from Washington D.C. to
 Collins, Bryan          03/30/2017                                                            $548.40
                                         Pittsburgh for Westinghouse Electric Company for
                                         clientmeeting/presentation
                                         UNITED AIRLINES JACKSONVI Coach class
                                         roundtrip airfare for travel from New York to
 Minars, Scott           04/19/2017                                                            $902.90
                                         Pittsburgh for Westinghouse Electric Company for
                                         client service meeting
                                         UNITED AIRLINES JACKSONVI Coach class
                                         roundtrip airfare for travel from New York to
 Sasso, Anthony          04/20/2017                                                            $875.92
                                         Pittsburgh for Westinghouse Electric Company -
                                         client service meetings
Subtotal for Airfare:                                                                         $3,176.15


Ground Transportation
                                         UBER *US APR03 OHH HELP.UBER Taxi for
 Tzavelis, Elias         04/03/2017      Westinghouse Electric Company from New York,           $50.66
                                         New York to LGA for client meeting
                                         GLAZER SERVICES 0000 PITTSBURG Taxi for
 Collins, Bryan          04/04/2017      Westinghouse Electric Company from client              $53.00
                                         location to airportfor meeting/presentation
                                         Z VIP SEDAN & LIMOUS TEMPLE HI Car Service
 Collins, Bryan          04/04/2017      for Westinghouse Electric Company from home to         $74.12
                                         airport for meeting/presentation
                                         UBER *US APR04 2J7 HELP.UBER Taxi for
 Collins, Bryan          04/04/2017      Westinghouse Electric Company from client              $36.21
                                         location to airport for meeting/presentation
                                         MTA EWRLOTCTP/CT 002 NEWARK Parking for
 Minars, Scott           04/04/2017      two days for travel for Westinghouse Electric          $78.00
                                         Company for client service meeting


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                      Westinghouse Electric Company
                   Deloitte Financial Advisory Services LLP
           Expenses Sorted by Category for the Fee Period
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Category               Date            Description                                           Amount



Ground Transportation
                                       Z VIP SEDAN & LIMOUS TEMPLE HI Taxi for
 Collins, Bryan        04/05/2017      Westinghouse Electric Company from airport to         $75.21
                                       office
                                       CAREY WASHINGTO Car Service for
 Minars, Scott         04/05/2017      Westinghouse Electric Company from PIT to hotel       $83.40
                                       for client service meeting
                                       CAREY WASHINGTO Car Service for
 Tzavelis, Elias       04/05/2017      Westinghouse Electric Company from client to          $83.40
                                       PIT airport for client service meeting
                                       UBER *US APR04 TQK HELP.UBER Taxi for
 Tzavelis, Elias       04/05/2017      Westinghouse Electric Company from LGA to             $33.48
                                       home for clientservices meeting
                                       CAREY WASHINGTO Car Service for
 Minars, Scott         04/06/2017      Westinghouse Electric Company from client LGA        $197.44
                                       to EWR for client service meeting
                                       EMPIRE INTERNATIONAL Secaucus Car Service
 Sasso, Anthony        04/24/2017      for Westinghouse Electric Company - to Newark        $109.90
                                       Airport
                                       AVIS RENT A CAR PITTSBURG Auto Rental for
 Minars, Scott         04/26/2017      one day for Westinghouse Electric Company for        $118.06
                                       client service meeting
                                       MTA EWRLOTCTP/CT 002 NEWARK Parking for
 Minars, Scott         04/26/2017      two days for travel for Westinghouse Electric         $98.00
                                       Company for client service meeting
                                       EMPIRE INTERNATIONAL Secaucus Car Service
 Sasso, Anthony        04/26/2017      for Westinghouse Electric Company return to          $118.45
                                       Colts Neckfrom Newark airport
Subtotal for Ground
Transportation:                                                                            $1,209.33


Hotel
                                       WESTIN CONV CTR PITT PITTSBURG Hotel
 Minars, Scott         04/03/2017      stay for travel for Westinghouse Electric Company    $178.98
                                       for client service meeting


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                        Westinghouse Electric Company
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Category                  Date            Description                                           Amount



Hotel
                                          WESTIN CONV CTR PITT PITTSBURG Hotel
 Tzavelis, Elias          04/03/2017      stay for travel for Westinghouse Electric Company    $204.06
                                          for client service meeting
                                          PITTSBURGH NORTH AT CRANBERRY Hotel
 Minars, Scott            04/24/2017      stay for travel for Westinghouse Electric Company    $158.73
                                          for client service meeting
                                          PITTSBURGH NORTH AT CRANBERRY Hotel
 Sasso, Anthony           04/24/2017                                                           $158.73
                                          stay for travel for Westinghouse Electric Company
                                          PITTSBURGH NORTH AT CRANBERRY Hotel
 Minars, Scott            04/25/2017      stay for travel for Westinghouse Electric Company    $158.73
                                          for client service meeting
                                          PITTSBURGH NORTH AT CRANBERRY Hotel
 Sasso, Anthony           04/25/2017                                                           $158.73
                                          stay for travel for Westinghouse Electric Company
Subtotal for Hotel:                                                                           $1,017.96


Meals
                                          BILL BAR BGR PIT 00A PITTSBURG Lunch
                                          during travel for Westinghouse Electric Company
 Minars, Scott            04/03/2017                                                            $25.00
                                          for client services meeting ATTENDEES: Scott
                                          Minars
                                          DULLESAIRAUBONPAIN26 STERLING Breakfast
                                          during travel for Westinghouse Electric Company
 Collins, Bryan           04/04/2017                                                             $2.28
                                          for meeting/presentation ATTENDEES: Bryan
                                          Collins
                                          CHICK FIL A 65000000 PITTSBURG Dinner
                                          during travel for Westinghouse Electric Company
 Collins, Bryan           04/04/2017                                                             $7.76
                                          formeeting/presentation ATTENDEES: Bryan
                                          Collins
                                          CRAZY MOCHA WINTERGA Pittsburg breakfast
                                          during travel for Westinghouse Electric Company
 Collins, Bryan           04/04/2017                                                             $2.03
                                          formeeting/presentation ATTENDEES: Bryan
                                          Collins




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Category                  Date            Description                                              Amount



Meals
                                          TGI FRIDAYS #1500 00 PITTSBURG Dinner
                                          during travel for Westinghouse Electric Company
 Tzavelis, Elias          04/04/2017                                                                $50.00
                                          for client services meeting ATTENDEES: Elias
                                          Tzavelis,Scott Minars
                                          WESTIN CONV CTR PITT PITTSBURG Breakfast
                                          for travel for Westinghouse Electric Company for
 Tzavelis, Elias          04/04/2017                                                                $15.00
                                          client service meeting ATTENDEES: Elias
                                          Tzavelis
                                          LA MADELEINE #052 00 DALLAS Business lunch
 Johnston, Josh           04/11/2017      while attending conference call ATTENDEES:                $10.06
                                          Josh Johnston
                                          UNITED CLUB DFW LIQU DFW AIRPO Lunch
 Minars, Scott            04/21/2017      during travel for Westinghouse Electric Company           $17.24
                                          ATTENDEES: Scott Minars
                                          GROVE EWR THE GROVE NEWARK Breakfast
 Sasso, Anthony           04/24/2017      during travel for Westinghouse Electric Company            $4.76
                                          ATTENDEES: Anthony Sasso
                                          PITTSBURGH NORTH AT CRANBERRY Dinner
                                          while traveling for Westinghouse Electric
 Minars, Scott            04/25/2017                                                                $25.00
                                          Company for client service meeting ATTENDEES:
                                          Scott Minars
                                          PITTSBURGH NORTH AT CRANBERRY
                                          Breakfast for travel for Westinghouse Electric
 Minars, Scott            04/26/2017                                                                 $7.63
                                          Company for client service meeting ATTENDEES:
                                          Scott Minars
                                          MARRIOTT PITTSBURGH- CRANBERRY
 Sasso, Anthony           04/26/2017      Breakfast during travel for Westinghouse Electric         $14.46
                                          Company ATTENDEES: Anthony Sasso
                                          QUAKER STEAK & LUBE PITTSBURG Dinner
 Sasso, Anthony           04/26/2017      during travel for Westinghouse Electric Company           $50.00
                                          ATTENDEES: Anthony Sasso,Scott Minars
Subtotal for Meals:                                                                                $231.22




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                          Westinghouse Electric Company
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Category                   Date            Description                                           Amount



Telephone, Conference
                                           CONFERENCING 0848700 800-47506 for client
 Minars, Scott             04/04/2017                                                             $2.23
                                           meeting
                                           CONFERENCING 0848700 800-47506 for client
 Minars, Scott             04/04/2017                                                             $0.18
                                           meeting
                                           CONFERENCING 0848700 800-47506 for client
 Minars, Scott             04/06/2017                                                             $2.30
                                           meeting
                                           CONFERENCING 0848700 800-47506 for client
 Minars, Scott             04/06/2017                                                             $2.90
                                           meeting
Subtotal for Telephone,
Conference:                                                                                       $7.61
Total                                                                                          $5,642.27




                                         Recapitulation
           Category                                                                Amount

           Airfare                                                              $3,176.15

           Ground Transportation                                                $1,209.33

           Hotel                                                                $1,017.96

           Meals                                                                   $231.22

           Telephone, Conference                                                       $7.61




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Date                              Description                                  Rate    Hours       Fees

Firm Retention
05/30/2017
   McGonigle, David               Preparation of pre-petition fee and        $473.00     2.9   $1,371.70
                                  expenses incurred per Deloitte's office
                                  of general counsel request for retention
                                  application
05/31/2017
   McGonigle, David               Continued preparation of pre-petition      $473.00     2.8   $1,324.40
                                  fee and expenses incurred per
                                  Deloitte's office of general counsel
                                  request for retention application
   McGonigle, David               Composed email requesting any              $473.00     0.1     $47.30
                                  relationship with bankruptcy court
                                  personnel to S. Minars, M. Cohen, S.
                                  Stanton, J. Larson, T. Stafford, M.
                                  Cohen, J. Letts, K. Homment (all
                                  Deloitte).
   McGonigle, David               Summarized responses to email from         $473.00     0.2     $94.60
                                  S. Minars, M. Cohen, S. Stanton, J.
                                  Larson, T. Stafford, M. Cohen, J. Letts,
                                  K. Homment (all Deloitte) requesting
                                  disclosure of any relationship with
                                  court personnel
   Subtotal for Firm Retention:                                                          6.0   $2,838.00

Litigation
05/01/2017
   Cohen, Mark                    Discussed potential independent            $592.00     0.6    $355.20
                                  auditor candidates/firms and additional
                                  research to perform with J. Johnston,
                                  S. Minars, T. Stafford, R. Strahle, D.
                                  McGonigle, J. Letts and K. Hommen
                                  (all Deloitte).
   Cohen, Mark                    Review of list of potential firms and      $592.00     1.0    $592.00
                                  candidates to serve as Independent
                                  Auditor ('IA"), including research
                                  Deloitte relationships with potential
                                  candidates.




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                    Fees Sorted by Category for the Fee Period
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Litigation
05/01/2017
   Hommen, Kelly            Discussed potential independent           $340.00     0.6    $204.00
                            auditor candidates/firms and additional
                            research to perform with J. Johnston,
                            S. Minars, M. Cohen, T. Stafford, R.
                            Strahle, D. McGonigle and J. Letts (all
                            Deloitte).
   Johnston, Josh           Discussed potential independent           $592.00     0.6    $355.20
                            auditor candidates/firms and additional
                            research to perform with S. Minars, M.
                            Cohen, T. Stafford, R. Strahle, D.
                            McGonigle, J. Letts and K. Hommen
                            (all Deloitte).
   Johnston, Josh           Research of Independent Auditor           $592.00     1.8   $1,065.60
                            options for arbitration.
   Letts, Joshua            Discussed potential independent           $340.00     0.6    $204.00
                            auditor candidates/firms and additional
                            research to perform with J. Johnston,
                            S. Minars, M. Cohen, T. Stafford, R.
                            Strahle, D. McGonigle and K. Hommen
                            (all Deloitte).
   Letts, Joshua            Updated summary of Tier 3 IA options      $340.00     2.3    $782.00
   Letts, Joshua            Updated summary of Tier 5 IA options      $340.00     1.7    $578.00
   Letts, Joshua            Researched potential IA                   $340.00     2.4    $816.00
                            candidates/firms for qualifications
   Letts, Joshua            Researched publications by potential      $340.00     1.9    $646.00
                            independent auditor candidates
   McGonigle, David         Discussed potential independent           $473.00     0.6    $283.80
                            auditor candidates/firms and additional
                            research to perform with J. Johnston,
                            S. Minars, M. Cohen, T. Stafford, R.
                            Strahle, J. Letts and K. Hommen (all
                            Deloitte).
   McGonigle, David         Created template spreadsheet for list     $473.00     0.5    $236.50
                            of potential Independent Auditors and
                            Construction Experts
   McGonigle, David         Updated the listing of potential Tier 1   $473.00     2.8   $1,324.40
                            IA candidates
   McGonigle, David         Updated the listing of potential Tier 2   $473.00     1.9    $898.70
                            IA candidates


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Litigation
05/01/2017
   McGonigle, David         Updated the listing of potential Tier 4   $473.00     0.7    $331.10
                            IA candidates
   McGonigle, David         Updated Listing of Potential              $473.00     0.6    $283.80
                            Independent Auditors and Experts
                            based on notes provided by T. Stafford
                            (Deloitte)
   Minars, Scott            Discussed potential independent           $592.00     0.6    $355.20
                            auditor candidates/firms and additional
                            research to perform with J. Johnston,
                            M. Cohen, T. Stafford, R. Strahle, D.
                            McGonigle, J. Letts and K. Hommen
                            (all Deloitte).
   Minars, Scott            Researche the preliminary listing of      $592.00     1.8   $1,065.60
                            potential IA candidates
   Stafford, Ted            Discussed potential independent           $513.00     0.6    $307.80
                            auditor candidates/firms and additional
                            research to perform with J. Johnston,
                            S. Minars, M. Cohen, R. Strahle, D.
                            McGonigle, J. Letts and K. Hommen
                            (all Deloitte).
   Stafford, Ted            Reviewed market research for              $513.00     2.3   $1,179.90
                            independent auditors for arbitration
                            proceeding.
   Strahle, Robert          Discussed potential independent           $513.00     0.6    $307.80
                            auditor candidates/firms and additional
                            research to perform with J. Johnston,
                            S. Minars, M. Cohen, T. Stafford, D.
                            McGonigle, J. Letts and K. Hommen
                            (all Deloitte).
05/02/2017
   Cohen, Mark              Reviewed summary of potential             $592.00     0.8    $473.60
                            Independent Auditors ("IA")
   Cohen, Mark              Meeting with T. Baird (WEC), S.           $592.00     0.2    $118.40
                            Minars, J. Johnston, T. Stafford and D.
                            McGonigle (all Deloitte) to discuss
                            potential Independent Auditors for the
                            purchase price dispute.




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Litigation
05/02/2017
   Johnston, Josh           Meeting with T. Baird (WEC), S.          $592.00     0.2    $118.40
                            Minars, M. Cohen, T. Stafford and D.
                            McGonigle (all Deloitte) to discuss
                            potential independent auditors for the
                            purchase price dispute.
   Letts, Joshua            Researched potential independent         $340.00     2.1    $714.00
                            auditor candidates
   McGonigle, David         Updated Listing of potential             $473.00     0.7    $331.10
                            Independent auditors and experts
                            based on S. Minars (Deloitte) notes.
   McGonigle, David         Updated Listing of Potential             $473.00     0.5    $236.50
                            Independent Auditors and Experts to
                            reflect additional candidates provided
                            by D. Heffer (Foley)
   McGonigle, David         Discussed project timeline and updates   $473.00     0.3    $141.90
                            on the bankruptcy proceedings with S.
                            Minars (Deloitte)
   McGonigle, David         Meeting with T. Baird (WEC), S.          $473.00     0.2     $94.60
                            Minars, J. Johnston, M. Cohen and T.
                            Stafford (all Deloitte) to discuss
                            potential independent auditors for the
                            purchase price dispute.
   Minars, Scott            Reviewed the updated and expanded        $592.00     1.2    $710.40
                            IA candidate listing and provided
                            comments.
   Minars, Scott            Discussed project timeline and updates   $592.00     0.3    $177.60
                            on the bankruptcy proceedings with D.
                            McGonigle (Deloitte)
   Minars, Scott            Meeting with T. Baird (WEC), J.          $592.00     0.2    $118.40
                            Johnston, M. Cohen, T. Stafford and D.
                            McGonigle (all Deloitte) to discuss
                            potential independent auditors for the
                            purchase price dispute.
   Stafford, Ted            Reviewed market research for             $513.00     1.2    $615.60
                            independent auditors for arbitration
                            proceeding.
   Stafford, Ted            Meeting with T. Baird (WEC), S.          $513.00     0.2    $102.60
                            Minars, J. Johnston, M. Cohen and D.
                            McGonigle (all Deloitte) to discuss
                            potential independent auditors for the
                            purchase price dispute.

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Date                        Description                                 Rate    Hours      Fees

Litigation
05/03/2017
   Hommen, Kelly            Meeting with J. Johnston, S. Minars, T.   $340.00     0.3    $102.00
                            Stafford, R. Strahle, D. McGonigle and
                            J. Letts (all Deloitte) to discuss
                            potential independent auditor
                            candidates, WEC state supreme court
                            proceedings, and recent news
                            publications addressing the dispute
   Johnston, Josh           Meeting with S. Minars, T. Stafford, R.   $592.00     0.3    $177.60
                            Strahle, D. McGonigle, J. Letts and K.
                            Hommen (all Deloitte) to discuss
                            potential independent auditor
                            candidates, WEC state supreme court
                            proceedings, and recent news
                            publications addressing the dispute
   Letts, Joshua            Meeting with J. Johnston, S. Minars, T.   $340.00     0.3    $102.00
                            Stafford, R. Strahle, D. McGonigle and
                            K. Hommen (all Deloitte) to discuss
                            potential independent auditor
                            candidates, WEC state supreme court
                            proceedings, and recent news
                            publications addressing the dispute
   Letts, Joshua            Researched potential independent          $340.00     1.6    $544.00
                            auditor candidates/firms
   McGonigle, David         Draft email to the team summarizing       $473.00     0.3    $141.90
                            potential firms to include as IA
                            candidates
   McGonigle, David         Meeting with J. Johnston, S. Minars, T.   $473.00     0.3    $141.90
                            Stafford, R. Strahle, J. Letts and K.
                            Hommen (all Deloitte) to discuss
                            potential independent auditor
                            candidates, WEC state supreme court
                            proceedings, and recent news
                            publications addressing the dispute
   Minars, Scott            Meeting with J. Johnston, T. Stafford,    $592.00     0.3    $177.60
                            R. Strahle, D. McGonigle, J. Letts and
                            K. Hommen (all Deloitte) to discuss
                            potential independent auditor
                            candidates, WEC state supreme court
                            proceedings, and recent news
                            publications addressing the dispute
   Stafford, Ted            Review of industry market data for        $513.00     0.8    $410.40
                            arbitration.

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Date                        Description                                  Rate    Hours      Fees

Litigation
05/03/2017
   Stafford, Ted            Meeting with J. Johnston, S. Minars, R.    $513.00     0.3    $153.90
                            Strahle, D. McGonigle, J. Letts and K.
                            Hommen (all Deloitte) to discuss
                            potential independent auditor
                            candidates, WEC state supreme court
                            proceedings, and recent news
                            publications addressing the dispute
   Strahle, Robert          Meeting with J. Johnston, S. Minars, T.    $513.00     0.3    $153.90
                            Stafford, D. McGonigle, J. Letts and K.
                            Hommen (all Deloitte) to discuss
                            potential independent auditor
                            candidates, WEC state supreme court
                            proceedings, and recent news
                            publications addressing the dispute
05/04/2017
   Letts, Joshua            Researched potential Independent           $340.00     0.1     $34.00
                            auditor candidates
   Stafford, Ted            Review of industry market data for         $513.00     0.7    $359.10
                            arbitration.
05/05/2017
   McGonigle, David         Updated powerpoint summary of              $473.00     0.5    $236.50
                            potential IA candidates going forward
   McGonigle, David         Updated list of parties in interest for    $473.00     1.7    $804.10
                            additional resumes
   Stafford, Ted            Review of industry market data related     $513.00     1.3    $666.90
                            to search for new independent auditor
                            pursuant to ongoing post-closing
                            dispute.
05/09/2017
   Cohen, Mark              Call with client and counsel P. Wang,      $592.00     0.5    $296.00
                            D Heffer (Foley), R. Swanson, T. Baird
                            (WEC), J. Johnston, S. Minars, T.
                            Stafford and D. McGonigle (all Deloitte)
                            to discuss recent court proceedings
                            and arbitration status




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Litigation
05/09/2017
   Johnston, Josh           Call with client and counsel P. Wang,      $592.00     0.5    $296.00
                            D Heffer (Foley), R. Swanson, T. Baird
                            (WEC), S. Minars, M. Cohen, T.
                            Stafford and D. McGonigle (all Deloitte)
                            to discuss recent court proceedings
                            and arbitration status
   McGonigle, David         Call with client and counsel P. Wang,      $473.00     0.5    $236.50
                            D Heffer (Foley), R. Swanson, T. Baird
                            (WEC), J. Johnston, S. Minars, M.
                            Cohen and T. Stafford (all Deloitte) to
                            discuss recent court proceedings and
                            arbitration status
   Minars, Scott            Call with client and counsel P. Wang,      $592.00     0.5    $296.00
                            D Heffer (Foley), R. Swanson, T. Baird
                            (WEC), J. Johnston, M. Cohen and T.
                            Stafford, D. McGonigle (all Deloitte) to
                            discuss recent court proceedings and
                            arbitration status
   Stafford, Ted            Call with client and counsel P. Wang,      $513.00     0.5    $256.50
                            D Heffer (Foley), R. Swanson, T. Baird
                            (WEC), J. Johnston, S. Minars, M.
                            Cohen and D. McGonigle (all Deloitte)
                            to discuss recent court proceedings
                            and arbitration status
   Stafford, Ted            Analysis of market data for arbitration    $513.00     0.6    $307.80
                            related to search for new independent
                            auditor pursuant to ongoing post-
                            closing dispute.
05/10/2017
   Johnston, Josh           Meeting to discuss progress in             $592.00     0.1     $59.20
                            searching for a new independent
                            auditor and potential project timeline
                            moving forward with J. Johnston, and
                            J. Letts (Deloitte).
   Letts, Joshua            Meeting to discuss progress in             $340.00     0.1     $34.00
                            searching for a new independent
                            auditor and potential project timeline
                            moving forward with J. Johnston, R.
                            Strahle and, J. Letts (Deloitte).




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                    Fees Sorted by Category for the Fee Period
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Litigation
05/12/2017
   Stafford, Ted            Analysis of market data for arbitration   $513.00     0.2    $102.60
                            related to search for new independent
                            auditor pursuant to ongoing post-
                            closing dispute.
05/15/2017
   Cohen, Mark              Discussed top independent auditor         $592.00     0.3    $177.60
                            candidates and strategy, as well as
                            effects of potential Delaware State
                            Supreme court rulings with J.
                            Johnston, S. Minars, T. Stafford, R.
                            Strahle, D. McGonigle and J. Letts (all
                            Deloitte).
   Johnston, Josh           Discussed top independent auditor         $592.00     0.3    $177.60
                            candidates and strategy, as well as
                            effects of potential Delaware State
                            Supreme court rulings with S. Minars,
                            M. Cohen, T. Stafford, R. Strahle, D.
                            McGonigle and J. Letts (all Deloitte).
   Letts, Joshua            Discussed top independent auditor         $340.00     0.3    $102.00
                            candidates and strategy, as well as
                            effects of potential Delaware State
                            Supreme court rulings with J.
                            Johnston, S. Minars, M. Cohen, T.
                            Stafford, R. Strahle and D. McGonigle
                            (all Deloitte).
   McGonigle, David         Discussed top independent auditor         $473.00     0.3    $141.90
                            candidates and strategy, as well as
                            effects of potential Delaware State
                            Supreme court rulings with J.
                            Johnston, S. Minars, M. Cohen, T.
                            Stafford, R. Strahle and J. Letts (all
                            Deloitte).
   Minars, Scott            Discussed top independent auditor         $592.00     0.3    $177.60
                            candidates and strategy, as well as
                            effects of potential Delaware State
                            Supreme court rulings with J.
                            Johnston, M. Cohen, T. Stafford, R.
                            Strahle, D. McGonigle and J. Letts (all
                            Deloitte).




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Litigation
05/15/2017
   Stafford, Ted            Discussed top independent auditor          $513.00     0.3    $153.90
                            candidates and strategy, as well as
                            effects of potential Delaware State
                            Supreme court rulings with J.
                            Johnston, S. Minars, M. Cohen, R.
                            Strahle, D. McGonigle and J. Letts (all
                            Deloitte).
05/16/2017
   Cohen, Mark              Call with client and counsel T. Baird      $592.00     0.2    $118.40
                            (WEC), D. Heffer (Foley), J. Johnston,
                            S. Minars, T. Stafford and D.
                            McGonigle (all Deloitte) to discuss IA
                            selection and arbitration status
   Johnston, Josh           Call with client and counsel T. Baird      $592.00     0.2    $118.40
                            (WEC), D. Heffer (Foley), M. Cohen, S.
                            Minars, T. Stafford and D. McGonigle
                            (all Deloitte) to discuss IA selection
                            and arbitration status
   McGonigle, David         Call with client and counsel T. Baird      $473.00     0.2     $94.60
                            (WEC), D. Heffer (Foley), J. Johnston,
                            M. Cohen, S. Minars and T. Stafford
                            (all Deloitte) to discuss IA selection
                            and arbitration status
   Minars, Scott            Call with client and counsel T. Baird      $592.00     0.2    $118.40
                            (WEC), D. Heffer (Foley), J. Johnston,
                            M. Cohen, T. Stafford and D.
                            McGonigle (all Deloitte) to discuss IA
                            selection and arbitration status
   Stafford, Ted            Call with client and counsel T. Baird      $513.00     0.2    $102.60
                            (WEC), D. Heffer (Foley), J. Johnston,
                            M. Cohen, S. Minars and D. McGonigle
                            (all Deloitte) to discuss IA selection
                            and arbitration status
05/19/2017
   Minars, Scott            Reviewed the responses to the internal     $592.00     3.2   $1,894.40
                            Deloitte parties-in-interest conflict
                            checking.
   Stafford, Ted            Analysis of market data for arbitration.   $513.00     0.2    $102.60




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Litigation
05/22/2017
   Cohen, Mark              Meeting to discuss ongoing bankruptcy     $592.00     0.2    $118.40
                            proceedings and independent auditor
                            selection progress with J. Johnston, S.
                            Minars, T. Stafford, D. McGonigle, J.
                            Letts and K. Hommen (all Deloitte).
   Hommen, Kelly            Meeting to discuss ongoing bankruptcy     $340.00     0.2     $68.00
                            proceedings and independent auditor
                            selection progress with J. Johnston, S.
                            Minars, M. Cohen, T. Stafford, D.
                            McGonigle and J. Letts (all Deloitte).
   Johnston, Josh           Meeting to discuss ongoing bankruptcy     $592.00     0.2    $118.40
                            proceedings and independent auditor
                            selection progress with S. Minars, M.
                            Cohen, T. Stafford, D. McGonigle, J.
                            Letts and K. Hommen (all Deloitte).
   Letts, Joshua            Meeting to discuss ongoing bankruptcy     $340.00     0.2     $68.00
                            proceedings and independent auditor
                            selection progress with J. Johnston, S.
                            Minars, M. Cohen, T. Stafford, D.
                            McGonigle and K. Hommen (all
                            Deloitte).
   McGonigle, David         Meeting to discuss ongoing bankruptcy     $473.00     0.2     $94.60
                            proceedings and independent auditor
                            selection progress with J. Johnston, S.
                            Minars, M. Cohen, T. Stafford, J. Letts
                            and K. Hommen (all Deloitte).
   Minars, Scott            Meeting to discuss ongoing bankruptcy     $592.00     0.2    $118.40
                            proceedings and independent auditor
                            selection progress with J. Johnston M.
                            Cohen, T. Stafford, D. McGonigle, J.
                            Letts and K. Hommen (all Deloitte).
   Stafford, Ted            Meeting to discuss ongoing bankruptcy     $513.00     0.2    $102.60
                            proceedings and independent auditor
                            selection progress with J. Johnston, S.
                            Minars, M. Cohen, D. McGonigle, J.
                            Letts and K. Hommen (all Deloitte).




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Litigation
05/23/2017
   Cohen, Mark              Call with client and counsel T. Baird,      $592.00     0.4    $236.80
                            D.Mura (WEC), S. Minars, D.
                            McGonigle and T. Stafford (all Deloitte)
                            to discuss IA selection and arbitration
                            status.
   McGonigle, David         Call with client and counsel T. Baird,      $473.00     0.4    $189.20
                            D.Mura (WEC), S. Minars, M. Cohen
                            and T. Stafford (all Deloitte) to discuss
                            IA selection and arbitration status.
   Minars, Scott            Call with client and counsel T. Baird,      $592.00     0.4    $236.80
                            D.Mura (WEC), M. Cohen, D.
                            McGonigle and T. Stafford (all Deloitte)
                            to discuss IA selection and arbitration
                            status.
   Stafford, Ted            Call with client and counsel T. Baird,      $513.00     0.4    $205.20
                            D.Mura (WEC), S. Minars, D.
                            McGonigle and M. Cohen (all Deloitte)
                            to discuss IA selection and arbitration
                            status.
05/24/2017
   Cohen, Mark              Internal call to discuss potential IA       $592.00     0.2    $118.40
                            candidates across available firms with
                            S. Minars, T. Stafford, R. Strahle, J.
                            Letts, D. McGonigle and K. Hommen
                            (all Deloitte).
   Hommen, Kelly            Internal call to discuss potential IA       $340.00     0.2     $68.00
                            candidates across available firms with
                            S. Minars, M. Cohen, T. Stafford, R.
                            Strahle, D. McGonigle and J. Letts (all
                            Deloitte).
   Letts, Joshua            Internal call to discuss potential IA       $340.00     0.1     $34.00
                            candidates across available firms with
                            S. Minars, M. Cohen, T. Stafford, R.
                            Strahle, D. McGongile and K. Hommen
                            (all Deloitte).
   McGonigle, David         Internal call to discuss potential IA       $473.00     0.2     $94.60
                            candidates across available firms with
                            S. Minars, M. Cohen, T. Stafford, R.
                            Strahle, J. Letts and K. Hommen (all
                            Deloitte).


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                          Westinghouse Electric Company
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                     Fees Sorted by Category for the Fee Period
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Date                        Description                                 Rate    Hours      Fees

Litigation
05/24/2017
   Minars, Scott            Internal call to discuss potential IA     $592.00     0.2    $118.40
                            candidates across available firms with
                            D. McGonigle, M. Cohen, T. Stafford,
                            R. Strahle, J. Letts and K. Hommen (all
                            Deloitte).
   Stafford, Ted            Internal call to discuss potential IA     $513.00     0.2    $102.60
                            candidates across available firms with
                            S. Minars, M. Cohen, D. McGonigle, R.
                            Strahle, J. Letts and K. Hommen (all
                            Deloitte).
   Stafford, Ted            Reviewed market research for              $513.00     0.5    $256.50
                            arbitration related to search for new
                            independent auditor pursuant to
                            ongoing post-closing dispute.
   Strahle, Robert          Internal call to discuss potential IA     $513.00     0.2    $102.60
                            candidates across available firms with
                            S. Minars, M. Cohen, T. Stafford, D.
                            McGonigle, J. Letts and K. Hommen
                            (all Deloitte).
05/25/2017
   Stafford, Ted            Review of arbitration and court           $513.00     1.0    $513.00
                            proceedings and filings related to
                            search for new independent auditor
                            pursuant to ongoing post-closing
                            dispute.
05/30/2017
   Cohen, Mark              Call with client and counsel R.           $592.00     0.1     $59.20
                            Swanson, D. Mura (WEC), P. Wang,
                            D. Heffer (Foley), J. Johnston, S.
                            Minars, R. Strahle, T. Stafford and D.
                            McGonigle (all Deloitte) to discuss IA
                            selection and arbitration status
   Johnston, Josh           Call with client and counsel R.           $592.00     0.1     $59.20
                            Swanson, D. Mura (WEC), P. Wang,
                            D. Heffer (Foley), M. Cohen, S. Minars,
                            R. Strahle, T. Stafford and D.
                            McGonigle (all Deloitte) to discuss IA
                            selection and arbitration status




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                               Westinghouse Electric Company
                        Deloitte Financial Advisory Services LLP
                     Fees Sorted by Category for the Fee Period
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Date                              Description                                Rate    Hours           Fees

Litigation
05/30/2017
   McGonigle, David               Call with client and counsel R.          $473.00     0.1          $47.30
                                  Swanson, D. Mura (WEC), P. Wang,
                                  D. Heffer (Foley), J. Johnston, S.
                                  Minars, M. Cohen, R. Strahle and T.
                                  Stafford (all Deloitte) to discuss IA
                                  selection and arbitration status
   Minars, Scott                  Call with client and counsel R.          $592.00     0.1          $59.20
                                  Swanson, D. Mura (WEC), P. Wang,
                                  D. Heffer (Foley), J. Johnston, M.
                                  Cohen, R. Strahle, T. Stafford and D.
                                  McGonigle (all Deloitte) to discuss IA
                                  selection and arbitration status
   Stafford, Ted                  Call with client and counsel R.          $513.00     0.1          $51.30
                                  Swanson, D. Mura (WEC), P. Wang,
                                  D. Heffer (Foley), J. Johnston, S.
                                  Minars, M. Cohen, R. Strahle and D.
                                  McGonigle (all Deloitte) to discuss IA
                                  selection and arbitration status
   Strahle, Robert                Call with client and counsel R.          $513.00     0.1          $51.30
                                  Swanson, D. Mura (WEC), P. Wang,
                                  D. Heffer (Foley), J. Johnston, S.
                                  Minars, M. Cohen, T. Stafford and D.
                                  McGonigle (all Deloitte) to discuss IA
                                  selection and arbitration status
    Subtotal for Litigation:                                                          59.8    $28,988.10
Total                                                                                 65.8    $31,826.10




                                             Recapitulation
        Name                                                      Rate      Hours            Fees
        Cohen, Mark                                          $592.00          4.5       $2,664.00
        Johnston, Josh                                       $592.00          4.3       $2,545.60
        Minars, Scott                                        $592.00          9.5       $5,624.00
        Stafford, Ted                                        $513.00         11.8       $6,053.40
        Strahle, Robert                                      $513.00          1.2        $615.60


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                               Recapitulation
Name                                               Rate     Hours            Fees
McGonigle, David                              $473.00        19.5        $9,223.50
Hommen, Kelly                                 $340.00         1.3         $442.00
Letts, Joshua                                 $340.00        13.7        $4,658.00




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Date                          Description                                 Rate    Hours       Fees

Accounting Consultative Services
06/05/2017
   McGonigle, David           Updated tax memorandum including          $473.00     1.2    $567.60
                              supporting exhibits based on finalized
                              opening balance sheet.
06/15/2017
   McGonigle, David           Reviewed newly provided construction      $473.00     0.6    $283.80
                              activity material and corresponding
                              email request to update ASC740 tax
                              memo
   McGonigle, David           Discussion with S. Minars (Deloitte)      $473.00     0.3    $141.90
                              regarding additional information
                              needed from the Client to update the
                              ASC740 tax memo
   Minars, Scott              Read email correspondence and             $592.00     0.8    $473.60
                              studied accounting question relating to
                              deferred taxes
   Minars, Scott              Discussion with D. McGonigle              $592.00     0.3    $177.60
                              (Deloitte) regarding additional
                              information needed from the Client to
                              update the ASC740 tax memo
06/27/2017
   McGonigle, David           Meeting with K. Brady (WEC), S.           $473.00     0.5    $236.50
                              Minars (Deloitte) to discuss ASC 805
                              tax memo
   Subtotal for Accounting Consultative Services:                                   3.7   $1,881.00

Litigation
06/02/2017
   McGonigle, David           Reviewed similar construction             $473.00     2.7   $1,277.10
                              arbitration case to prepare key take-
                              away slides for the arbitration
06/03/2017
   Stafford, Ted              Engagement planning related to            $513.00     0.2    $102.60
                              search for new independent auditor
                              and on-going arbitration process.
06/04/2017
   Stanton, Steven            Reviewed purchase agreement under         $592.00     0.5    $296.00
                              dispute between WEC and CB&I


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                   Fees Sorted by Category for the Fee Period
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Date                        Description                                  Rate    Hours       Fees

Litigation
06/05/2017
   Cohen, Mark              Meeting to discuss bankruptcy              $592.00     0.1     $59.20
                            proceedings and internal team
                            structure going forward with T.
                            Stafford, R. Strahle, D. McGonigle, J.
                            Letts and K. Hommen (all Deloitte)
   Cohen, Mark              Call with C. Daigle (Marsh) regarding      $592.00     0.4    $236.80
                            status update of the Independent
                            Auditor ("IA") process
   Hommen, Kelly            Meeting to discuss bankruptcy              $340.00     0.1     $34.00
                            proceedings and internal team
                            structure going forward with M. Cohen,
                            T. Stafford, R. Strahle, D. McGonigle
                            and J. Letts (all Deloitte)
   Letts, Joshua            Meeting to discuss bankruptcy              $340.00     0.1     $34.00
                            proceedings and internal team
                            structure going forward with M. Cohen,
                            T. Stafford, R. Strahle, D. McGonigle
                            and K. Hommen (all Deloitte)
   McGonigle, David         Meeting to discuss bankruptcy              $473.00     0.1     $47.30
                            proceedings and internal team
                            structure going forward with M. Cohen,
                            T. Stafford, R. Strahle, J. Letts and K.
                            Hommen (all Deloitte)
   McGonigle, David         Finished the review of a similar case in   $473.00     1.1    $520.30
                            connection with preparing a
                            presentation for strategy impacts on
                            the purchase price dispute.
   McGonigle, David         Updated team schedule input template       $473.00     0.7    $331.10
                            based on new timeline estimates
   McGonigle, David         Prepared presentation summarizing          $473.00     3.0   $1,419.00
                            similar dispute and lessons to
                            implement for current dispute litigation
   McGonigle, David         Prepared presentation summarizing          $473.00     1.0    $473.00
                            similar dispute and strategy to
                            implement for current dispute litigation
   Stafford, Ted            Meeting to discuss bankruptcy              $513.00     0.1     $51.30
                            proceedings and internal team
                            structure going forward with M. Cohen,
                            R. Strahle, D. McGonigle, J. Letts and
                            K. Hommen (all Deloitte)


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Date                        Description                                 Rate    Hours      Fees

Litigation
06/05/2017
   Stafford, Ted            Prepare summary of arbitration            $513.00     0.7    $359.10
                            materials and timeline.
   Stanton, Steven          Continued review of the purchase          $592.00     0.3    $177.60
                            agreement under dispute between
                            WEC and CB&I
   Strahle, Robert          Meeting to discuss bankruptcy             $513.00     0.1     $51.30
                            proceedings and internal team
                            structure going forward with M. Cohen,
                            R. Strahle, D. McGonigle, J. Letts and
                            K. Hommen (all Deloitte)
06/06/2017
   Cohen, Mark              Call with T. Baird (WEC) to schedule      $592.00     0.3    $177.60
                            meeting with Deloitte, WEC and Foley
                            teams regarding analysis for the
                            disputed net working capital ("NWC")
                            calculation
   Cohen, Mark              Conference call with S. Stanton           $592.00     0.7    $414.40
                            (Deloitte) to discuss overall status of
                            the IA process
   Stanton, Steven          Conference call with M. Cohen             $592.00     0.7    $414.40
                            (Deloitte) to discuss overall status of
                            the IA process
06/07/2017
   Cohen, Mark              Meeting to discuss upcoming client        $592.00     0.3    $177.60
                            meeting and timeline of project going
                            forward with S. Stanton, J. Larson, T.
                            Stafford, D. McGonigle, J. Letts, K.
                            Hommen (all Deloitte)
   Cohen, Mark              Discussion with T. Baird (WEC) on         $592.00     0.1     $59.20
                            scheduling in-person meeting
                            regarding IA process going forward for
                            June 21 or June 22
   Hommen, Kelly            Meeting to discuss upcoming client        $340.00     0.3    $102.00
                            meeting and timeline of project going
                            forward with M. Cohen, S. Stanton, J.
                            Larson, T. Stafford, D. McGonigle and
                            J. Letts (all Deloitte)




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Date                        Description                                 Rate    Hours      Fees

Litigation
06/07/2017
   Larson, Jen              Meeting to discuss upcoming client        $513.00     0.3    $153.90
                            meeting and timeline of project going
                            forward with M. Cohen, S. Stanton, T.
                            Stafford, D. McGonigle, J. Letts, K.
                            Hommen (all Deloitte)
   Letts, Joshua            Meeting to discuss upcoming client        $340.00     0.3    $102.00
                            meeting and timeline of project going
                            forward with M. Cohen, S. Stanton, J.
                            Larson, T. Stafford, D. McGonigle, K.
                            Hommen (all Deloitte)
   McGonigle, David         Meeting to discuss upcoming client        $473.00     0.3    $141.90
                            meeting and timeline of project going
                            forward with M. Cohen, S. Stanton, J.
                            Larson, T. Stafford, J. Letts, K.
                            Hommen (all Deloitte)
   Stafford, Ted            Meeting to discuss upcoming client        $513.00     0.3    $153.90
                            meeting and timeline of project going
                            forward with M. Cohen, S. Stanton, J.
                            Larson, D. McGonigle, J. Letts, K.
                            Hommen (all Deloitte)
   Stafford, Ted            Analysis of arbitration determinations    $513.00     0.5    $256.50
                            and disputes.
   Stanton, Steven          Meeting to discuss upcoming client        $592.00     0.3    $177.60
                            meeting and timeline of project going
                            forward with M. Cohen, J. Larson, T.
                            Stafford, D. McGonigle, J. Letts, K.
                            Hommen (all Deloitte)
06/08/2017
   Cohen, Mark              Discussion with T. Baird (WEC) on         $592.00     0.2    $118.40
                            scheduling in-person meeting
                            regarding IA process and coordination
                            of team resources going forward
   McGonigle, David         Updated presentation of similar dispute   $473.00     0.9    $425.70
                            and strategies to implement in current
                            dispute per notes from T. Stafford
                            (Deloitte)
06/09/2017
   Stanton, Steven          Continued review of the purchase          $592.00     0.4    $236.80
                            agreement under dispute between
                            WEC and CB&I

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Litigation
06/12/2017
   Cohen, Mark              Call with S. Minars (Deloitte) on          $592.00     0.2    $118.40
                            logistics for in-person meeting
                            regarding the IA process going-forward
                            with WEC and Foley
   Minars, Scott            Call with M. Cohen (Deloitte) on           $592.00     0.2    $118.40
                            logistics for in-person meeting
                            regarding the IA process going-forward
                            with WEC and Foley
06/13/2017
   Cohen, Mark              Call with T. Baird (WEC) regarding         $592.00     0.3    $177.60
                            planning for meeting with WEC,
                            Deloitte and Foley on 6/22 related to
                            the IA process going forward
   Cohen, Mark              Call with S. Minars (Deloitte) regarding   $592.00     0.2    $118.40
                            preparation for in-person meeting with
                            WEC and Foley pertaining to the IA
                            process going-forward
   McGonigle, David         Updated presentation of strategic 'keys    $473.00     1.0    $473.00
                            for arbitration' based on S. Minars'
                            notes.
   Minars, Scott            Call with M. Cohen (Deloitte) regarding    $592.00     0.2    $118.40
                            preparation for in-person meeting with
                            WEC and Foley pertaining to the IA
                            process going-forward
   Stafford, Ted            Draft email on auditor process to D.       $513.00     0.2    $102.60
                            Heffer and P. Wang (Foley)
06/14/2017
   Cohen, Mark              Meeting to discuss upcoming meeting        $592.00     1.0    $592.00
                            with client on potential IA candidates,
                            and timeline for revamping of project
                            with S. Minars, S. Stanton, T. Stafford,
                            R. Strahle, J. Larson, D. McGonigle, K.
                            Hommen (Deloitte).
   Cohen, Mark              Call with R. Mercado (Marcum) on           $592.00     0.8    $473.60
                            ongoing status of engagement and
                            research of construction experts to
                            serve as subject matter experts




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Litigation
06/14/2017
   Hommen, Kelly            Meeting to discuss upcoming meeting        $340.00     1.0    $340.00
                            with client on potential IA candidates,
                            and timeline for revamping of project
                            with S. Minars, S. Stanton, T. Stafford,
                            R. Strahle, J. Larson, D. McGonigle, M.
                            Cohen (Deloitte).
   Larson, Jen              Meeting to discuss upcoming meeting        $513.00     1.0    $513.00
                            with client on potential IA candidates,
                            and timeline for revamping of project
                            with S. Minars, S. Stanton, T. Stafford,
                            R. Strahle, M. Cohen, D. McGonigle,
                            K. Hommen (Deloitte).
   McGonigle, David         Meeting to discuss upcoming meeting        $473.00     1.0    $473.00
                            with client on potential IA candidates,
                            and timeline for revamping of project
                            with S. Minars, S. Stanton, T. Stafford,
                            R. Strahle, J. Larson, M. Cohen, K.
                            Hommen (Deloitte).
   McGonigle, David         Reviewed and updated project working       $473.00     0.4    $189.20
                            group list
   Minars, Scott            Meeting to discuss upcoming meeting        $592.00     1.0    $592.00
                            with client on potential IA candidates,
                            and timeline for revamping of project
                            with M. Cohen, S. Stanton, T. Stafford,
                            R. Strahle, J. Larson, D. McGonigle, K.
                            Hommen (Deloitte).
   Stafford, Ted            Meeting to discuss upcoming meeting        $513.00     1.0    $513.00
                            with client on potential IA candidates,
                            and timeline for revamping of project
                            with S. Minars, S. Stanton, M. Cohen,
                            R. Strahle, J. Larson, D. McGonigle, K.
                            Hommen (Deloitte).
   Stafford, Ted            Call with J. Egertson (self employed       $513.00     0.5    $256.50
                            consultant) regarding arbitration
                            proceeding status.
   Stafford, Ted            Draft email on auditor process to D.       $513.00     0.2    $102.60
                            Heffer and P. Wang (Foley)
   Stafford, Ted            Research of internal auditor selection     $513.00     0.3    $153.90
                            for arbitration proceeding.




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Litigation
06/14/2017
   Stanton, Steven          Meeting to discuss upcoming meeting        $592.00     1.0    $592.00
                            with client on potential IA candidates,
                            and timeline for revamping of project
                            with S. Minars, M. Cohen, T. Stafford,
                            R. Strahle, J. Larson, D. McGonigle, K.
                            Hommen (Deloitte).
   Stanton, Steven          Analyzed schedule 11.1(a) in the           $592.00     0.5    $296.00
                            purchase agreement
   Strahle, Robert          Meeting to discuss upcoming meeting        $513.00     1.0    $513.00
                            with client on potential IA candidates,
                            and timeline for revamping of project
                            with S. Minars, S. Stanton, T. Stafford,
                            M. Cohen, J. Larson, D. McGonigle, K.
                            Hommen (Deloitte).
06/16/2017
   Stanton, Steven          Reviewed submissions to the delaware       $592.00     0.5    $296.00
                            supreme court regarding IA process
06/18/2017
   Larson, Jen              Review the Verified Complaint and          $513.00     2.6   $1,333.80
                            CB&I Appeal.
06/19/2017
   Cohen, Mark              Meeting to discuss in-person meeting       $592.00     0.1     $59.20
                            with WEC on 6/22 pertaining to the IA
                            process going forward and potential IA
                            candidates with T. Stafford, R. Strahle,
                            K. Hommen (Deloitte)
   Hommen, Kelly            Meeting to discuss in-person meeting       $340.00     0.1     $34.00
                            with WEC on 6/22 pertaining to the IA
                            process going forward and potential IA
                            candidates with T. Stafford, R. Strahle,
                            M. Cohen (Deloitte)
   Stafford, Ted            Meeting to discuss in-person meeting       $513.00     0.1     $51.30
                            with WEC on 6/22 pertaining to the IA
                            process going forward and potential IA
                            candidates with M. Cohen, R. Strahle,
                            K. Hommen (Deloitte)




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Litigation
06/19/2017
   Strahle, Robert          Meeting to discuss in-person meeting     $513.00     0.1     $51.30
                            with WEC on 6/22 pertaining to the IA
                            process going forward and potential IA
                            candidates with T. Stafford, M. Cohen,
                            K. Hommen (Deloitte)
06/20/2017
   Larson, Jen              Reviewed Chicago Bridge & Iron           $513.00     0.4    $205.20
                            (CB&I) Closing Payment Statement.
   Larson, Jen              Reviewed WEC's Closing Statement.        $513.00     0.4    $205.20
   Larson, Jen              Reviewed CB&I's Objection Notice.        $513.00     1.0    $513.00
06/21/2017
   Hommen, Kelly            Meeting to discuss upcoming meeting      $340.00     0.2     $68.00
                            with client regarding Independent
                            Auditors ("IA") candidates with S.
                            Minars, T. Stafford, R. Strahle, J.
                            Larson, D. McGonigle and J. Letts
                            (Deloitte)
   Larson, Jen              Meeting to discuss upcoming meeting      $513.00     0.2    $102.60
                            with client regarding Independent
                            Auditors ("IA") candidates with S.
                            Minars, T. Stafford, R. Strahle, D.
                            McGonigle, J. Letts and K. Hommen
                            (Deloitte)
   Larson, Jen              Review the Purchase Agreement            $513.00     2.4   $1,231.20
                            between CB&I and WEC
   Larson, Jen              Analyzed schedules 1.4(f) related to     $513.00     0.3    $153.90
                            WEC's acquisition of CB&I Stone &
                            Webster
   Larson, Jen              Analyzed schedules 11.1(a) related to    $513.00     0.6    $307.80
                            WEC's acquisition of CB&I Stone &
                            Webster
   Letts, Joshua            Meeting to discuss upcoming meeting      $340.00     0.2     $68.00
                            with client regarding Independent
                            Auditors ("IA") candidates with S.
                            Minars, T. Stafford, R. Strahle, J.
                            Larson, D. McGonigle and K. Hommen
                            (Deloitte)
   Letts, Joshua            Updated listing of potential             $340.00     0.2     $68.00
                            independent auditor ("IA") candidates

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Litigation
06/21/2017
   McGonigle, David         Meeting to discuss upcoming meeting      $473.00     0.2     $94.60
                            with client regarding Independent
                            Auditors ("IA") candidates with S.
                            Minars, T. Stafford, R. Strahle, J.
                            Larson, J. Letts and K. Hommen
                            (Deloitte)
   Minars, Scott            Meeting to discuss upcoming meeting      $592.00     0.2    $118.40
                            with client regarding Independent
                            Auditors ("IA") candidates with T.
                            Stafford, R. Strahle, J. Larson, D.
                            McGonigle, J. Letts and K. Hommen
                            (Deloitte)
   Stafford, Ted            Meeting to discuss upcoming meeting      $513.00     0.2    $102.60
                            with client regarding Independent
                            Auditors ("IA") candidates with S.
                            Minars, R. Strahle, J. Larson, D.
                            McGonigle, J. Letts and K. Hommen
                            (Deloitte)
06/22/2017
   Cohen, Mark              Meeting with P. Wang, D. Heffer          $592.00     3.1   $1,835.20
                            (Foley), T. Baird, R Swanson (WEC),
                            S. Minars, J. Larson, T. Stafford, R.
                            Strahle and D. McGonigle (Deloitte) to
                            discuss Independent Auditor (" IA")
                            selection process, status of the
                            Delaware supreme court ruling, and
                            arbitr
   Larson, Jen              Review the Grant Thornton                $513.00     0.9    $461.70
                            determination letter.
   Larson, Jen              Meeting with P. Wang, D. Heffer          $513.00     3.1   $1,590.30
                            (Foley), T. Baird, R Swanson (WEC),
                            M. Cohen, S. Minars, T. Stafford, R.
                            Strahle and D. McGonigle (Deloitte) to
                            discuss Independent Auditor (" IA")
                            selection process, status of the
                            Delaware supreme court ruling, and
                            arbitra
   Larson, Jen              Read 9-2-16 Defendant's Opening          $513.00     2.0   $1,026.00
                            Brief ISO Motion for Judgment on the
                            Pleading.



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Litigation
06/22/2017
   Larson, Jen              Read 10-17-16 Defendants Reply Brief       $513.00     0.7    $359.10
                            ISO their Motion for Judgment.
   McGonigle, David         Meeting with P. Wang, D. Heffer            $473.00     3.1   $1,466.30
                            (Foley), T. Baird, R Swanson (WEC),
                            M. Cohen, S. Minars, J. Larson, T.
                            Stafford and R. Strahle (Deloitte) to
                            discuss Independent Auditor (" IA")
                            selection process, status of the
                            Delaware supreme court ruling, and
                            arbitratio
   McGonigle, David         Gathered files regarding historical        $473.00     0.8    $378.40
                            accounting for the loss reserve, margin
                            fair value and related legal memos.
   Minars, Scott            Meeting with P. Wang, D. Heffer            $592.00     3.1   $1,835.20
                            (Foley), T. Baird, R Swanson (WEC),
                            M. Cohen, J. Larson, T. Stafford, R.
                            Strahle and D. McGonigle (Deloitte) to
                            discuss Independent Auditor (" IA")
                            selection process, status of the
                            Delaware supreme court ruling, and
                            arbitra
   Stafford, Ted            Review and organize prior arbitration      $513.00     0.4    $205.20
                            submissions by CB&I.
   Stafford, Ted            Draft email to P. Wang and D. Heffer       $513.00     0.1     $51.30
                            (Foley) related to prior arbitration
                            submissions by CB&I.
   Stafford, Ted            Drafting email to T. Baird (WEC)           $513.00     0.1     $51.30
                            related to prior arbitration submissions
                            by CB&I.
   Stafford, Ted            Meeting with P. Wang, D. Heffer            $513.00     3.1   $1,590.30
                            (Foley), T. Baird, R Swanson (WEC),
                            M. Cohen, S. Minars, J. Larson, R.
                            Strahle and D. McGonigle (Deloitte) to
                            discuss Independent Auditor (" IA")
                            selection process, status of the
                            Delaware supreme court ruling, and
                            arbitrati
   Stafford, Ted            Perform analysis of historical net         $513.00     0.4    $205.20
                            working capital (NWC) calculations and
                            documentation.



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                          Westinghouse Electric Company
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Litigation
06/22/2017
   Strahle, Robert          Meeting with P. Wang, D. Heffer            $513.00     3.1   $1,590.30
                            (Foley), T. Baird, R Swanson (WEC),
                            M. Cohen, S. Minars, J. Larson, T.
                            Stafford and D. McGonigle (Deloitte) to
                            discuss Independent Auditor (" IA")
                            selection process, status of the
                            Delaware supreme court ruling, and
                            arbitrat
06/23/2017
   Letts, Joshua            Pulled documents (legal memos) from        $340.00     1.0    $340.00
                            relativity for T. Baird and R. Swanson
                            (WEC) pursuant to their request.
   McGonigle, David         Gathered historical accounting             $473.00     0.4    $189.20
                            memoranda for costs and estimated
                            earnings in excess of billings (CIE) /
                            billings in excess of Debtors' costs and
                            estimated earnings (BIE) balances
   Stafford, Ted            Review of historical accounting / legal    $513.00     0.3    $153.90
                            memos for arbitration
06/25/2017
   Letts, Joshua            Uploaded legal memos to the                $340.00     0.3    $102.00
                            SharePoint for T. Baird and R.
                            Swanson (WEC)
06/27/2017
   Cohen, Mark              Preliminary review of Delaware             $592.00     0.5    $296.00
                            supreme court decision regarding the
                            IA dispute process received from P
                            Wang and D Heffer (Foley)
   Cohen, Mark              Discussion with S. Minars (Deloitte) on    $592.00     0.6    $355.20
                            the Delaware supreme court decision
                            on the arbitration process
   McGonigle, David         Review of Delaware supreme court           $473.00     1.5    $709.50
                            decision regarding the IA dispute
                            process received from P. Wang and D.
                            Heffer (Foley)




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Litigation
06/27/2017
   McGonigle, David         Meeting with P. Wang, D. Heffer           $473.00     1.0    $473.00
                            (Foley), M. Sweeny, R. Swanson, D.
                            Mura (WEC), S. Minars, T. Stafford
                            and R. Strahle (Deloitte) to discuss
                            Delaware Delaware supreme court
                            decision's impact on the arbitration
                            process going forward
   Minars, Scott            Continued analysis of ruling from         $592.00     0.8    $473.60
                            Delaware Supreme Court regarding
                            the IA process going forward
   Minars, Scott            Preparation of discussion points for      $592.00     0.9    $532.80
                            meeting with WEC and Foley
                            pertaining to the Delaware supreme
                            court's ruling regarding the IA process
                            going forward
   Minars, Scott            Discussion with M. Cohen (Deloitte) on    $592.00     0.6    $355.20
                            the Delaware supreme court decision
                            on the arbitration process
   Minars, Scott            Meeting with P. Wang, D. Heffer           $592.00     1.0    $592.00
                            (Foley), M. Sweeny, R. Swanson, D.
                            Mura (WEC), D. McGonigle, T. Stafford
                            and R. Strahle (Deloitte) to discuss
                            Delaware supreme court decision's
                            impact on the arbitration process going
                            forward
   Minars, Scott            Review of Delaware supreme court          $592.00     1.2    $710.40
                            decision regarding the IA dispute
                            process received from P. Wang and D.
                            Heffer (Foley)
   Stafford, Ted            Meeting with P. Wang, D. Heffer           $513.00     1.0    $513.00
                            (Foley), M. Sweeny, R. Swanson, D.
                            Mura (WEC), S. Minars, D. McGonigle
                            and R. Strahle (Deloitte) to discuss
                            Delaware supreme court decision's
                            impact on the arbitration process going
                            forward
   Stafford, Ted            Analysis of Delaware supreme court        $513.00     0.6    $307.80
                            decision on arbitration proceeding.




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                          Westinghouse Electric Company
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Litigation
06/27/2017
   Strahle, Robert          Meeting with P. Wang, D. Heffer           $513.00     1.0    $513.00
                            (Foley), M. Sweeny, R. Swanson, D.
                            Mura (WEC), S. Minars, T. Stafford
                            and D. McGonigle (Deloitte) to discuss
                            Delaware supreme court decision's
                            impact on the arbitration process going
                            forward
06/28/2017
   Cohen, Mark              Detailed review of Delaware supreme       $592.00     0.6    $355.20
                            court decision regarding the IA process
                            going-forward
   Cohen, Mark              Call with R. Mercado (Marcum)             $592.00     0.3    $177.60
                            regarding Delaware supreme court
                            decision related to the IA process
                            going forward
   Hommen, Kelly            Reviewed Delaware supreme courts          $340.00     2.0    $680.00
                            ruling regarding the IA process going
                            forward
   McGonigle, David         Meeting with S. Minars, T. Stafford       $473.00     0.4    $189.20
                            (Deloitte) to discuss strategy for
                            preparing an outline and presentation
                            for arbitration going forward.
   McGonigle, David         Summarized Delaware supreme court         $473.00     1.3    $614.90
                            statements (as they pertain to the
                            disputed NWC) that have an impact on
                            the IA process going-forward.
   McGonigle, David         Prepared a summary of potential IA        $473.00     2.4   $1,135.20
                            claims going forward.
   McGonigle, David         Finished summary of potential IA          $473.00     2.3   $1,087.90
                            claims going forward.
   Minars, Scott            Continued analysis of ruling from         $592.00     2.3   $1,361.60
                            Delaware Supreme Court
   Minars, Scott            Reviewed re-assessment of Net             $592.00     1.1    $651.20
                            Working Capital items
   Minars, Scott            Reviewed discussion materials on the      $592.00     0.4    $236.80
                            impact of the Delaware supreme
                            court's decision of IA process going-
                            forward




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Litigation
06/28/2017
   Minars, Scott          Meeting with T. Stafford and D.            $592.00     0.4    $236.80
                          McGonigle (Deloitte) to discuss
                          strategy for preparing an outline and
                          presentation for arbitration going
                          forward.
   Stafford, Ted          Review of analysis arbitration disputed    $513.00     1.2    $615.60
                          items listing.
   Stafford, Ted          Meeting with S. Minars and D.              $513.00     0.4    $205.20
                          McGonigle (Deloitte) to discuss
                          strategy for preparing an outline and
                          presentation for arbitration going
                          forward.
06/29/2017
   Cohen, Mark            Meeting with P. Wang, D. Heffer            $592.00     0.8    $473.60
                          (Foley), R. Swanson, D. Mura (WEC),
                          S. Minars, S. Stanton, R. Strahle, T.
                          Stafford and D. McGonigle (Deloitte) to
                          discuss arbitration claims.
   Cohen, Mark            Meeting to discuss outcome of the          $592.00     0.1     $59.20
                          Delaware Supreme court hearing and
                          immediate action items resulting from
                          the decision with S. Minars, D.
                          McGonigle, J. Letts and K. Hommen
                          (all Deloitte)
   Hommen, Kelly          Meeting to discuss outcome of the          $340.00     0.1     $34.00
                          Delaware Supreme court hearing and
                          immediate action items resulting from
                          the decision with S. Minars, M Cohen,
                          D. McGonigle and J. Letts (all Deloitte)
   Letts, Joshua          Researched relevant email                  $340.00     0.3    $102.00
                          communications to be used in IA
                          proceedings going-forward
   Letts, Joshua          Meeting to discuss outcome of the          $340.00     0.1     $34.00
                          Delaware Supreme court hearing and
                          immediate action items resulting from
                          the decision with S. Minars, M Cohen,
                          D. McGonigle and K. Hommen (all
                          Deloitte)




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Date                        Description                                 Rate    Hours       Fees

Litigation
06/29/2017
   McGonigle, David         Meeting with P. Wang, D. Heffer           $473.00     0.8    $378.40
                            (Foley), R. Swanson, D. Mura (WEC),
                            S. Minars, S. Stanton, M Cohen, R.
                            Strahle and T. Stafford (Deloitte) to
                            discuss arbitration claims.
   McGonigle, David         Update schedules cost and revenue         $473.00     1.0    $473.00
                            estimate at completion ("EAC") for
                            potential claims going forward
   McGonigle, David         Updated schedule of potential IA          $473.00     2.7   $1,277.10
                            candidates going forward based on
                            notes from team
   McGonigle, David         Meeting to discuss outcome of the         $473.00     0.1     $47.30
                            Delaware Supreme court hearing and
                            immediate action items resulting from
                            the decision with S. Minars, M Cohen,
                            J. Letts and K. Hommen (all Deloitte)
   Minars, Scott            Meeting to discuss outcome of the         $592.00     0.1     $59.20
                            Delaware Supreme court hearing and
                            immediate action items resulting from
                            the decision with M. Cohen, D.
                            McGonigle, J. Letts and K. Hommen
                            (all Deloitte)
   Minars, Scott            Meeting with P. Wang, D. Heffer           $592.00     0.8    $473.60
                            (Foley), R. Swanson, D. Mura (WEC),
                            S. Stanton, M Cohen, R. Strahle, T.
                            Stafford and D. McGonigle (Deloitte) to
                            discuss arbitration claims.
   Minars, Scott            Continued analysis of ruling from         $592.00     1.4    $828.80
                            Delaware Supreme Court on the IA
                            process going-forward
   Minars, Scott            Updated discussion materials on the       $592.00     0.6    $355.20
                            impact of the Delaware supreme
                            court's decision of IA process going-
                            forward
   Stafford, Ted            Meeting with P. Wang, D. Heffer           $513.00     0.8    $410.40
                            (Foley), R. Swanson, D. Mura (WEC),
                            S. Minars, S. Stanton, M Cohen, R.
                            Strahle and D. McGonigle (Deloitte) to
                            discuss arbitration claims.
   Stafford, Ted            Analysis of Delaware supreme court        $513.00     0.3    $153.90
                            decision on arbitration.

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                     Fees Sorted by Category for the Fee Period
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Date                        Description                                 Rate    Hours       Fees

Litigation
06/29/2017
   Stanton, Steven          Meeting with P. Wang, D. Heffer           $592.00     0.8    $473.60
                            (Foley), R. Swanson, D. Mura (WEC),
                            S. Minars, M Cohen, R. Strahle, T.
                            Stafford and D. McGonigle (Deloitte) to
                            discuss arbitration claims.
   Stanton, Steven          Reviewed Delaware supreme courts          $592.00     0.7    $414.40
                            ruling regarding the IA process going
                            forward
   Strahle, Robert          Meeting with P. Wang, D. Heffer           $513.00     0.8    $410.40
                            (Foley), R. Swanson, D. Mura (WEC),
                            S. Minars, S. Stanton, M Cohen T.
                            Stafford and D. McGonigle (Deloitte) to
                            discuss arbitration claims.
   Strahle, Robert          Reviewed Delaware supreme courts          $513.00     2.0   $1,026.00
                            ruling regarding the IA process going
                            forward
06/30/2017
   Cohen, Mark              Meeting with S. Minars, S. Stanton, T.    $592.00     0.9    $532.80
                            Stafford, M. Strahle and D. McGonigle
                            (Deloitte) to discuss Delaware
                            supreme court decision and arbitration
                            going-forward.
   Letts, Joshua            Discussed document review files           $340.00     0.3    $102.00
                            regarding purchase agreement sample
                            calculation with R. Strahle (Deloitte)
   McGonigle, David         Meeting with S. Minars, S. Stanton, M     $473.00     0.9    $425.70
                            Cohen, T. Stafford and M. Strahle
                            (Deloitte) to discuss Delaware
                            supreme court decision and arbitration
                            going-forward.
   Minars, Scott            Meeting with S. Stanton, M Cohen, T.      $592.00     0.9    $532.80
                            Stafford, M. Strahle and D. McGonigle
                            (Deloitte) to discuss Delaware
                            supreme court decision and arbitration
                            going-forward.
   Stafford, Ted            Meeting with S. Minars, S. Stanton, M     $513.00     0.9    $461.70
                            Cohen, M. Strahle and D. McGonigle
                            (Deloitte) to discuss Delaware
                            supreme court decision and arbitration
                            going-forward.


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Date                             Description                                Rate    Hours        Fees

Litigation
06/30/2017
   Stanton, Steven               Meeting with S. Minars, M Cohen, T.      $592.00     0.5     $296.00
                                 Stafford, M. Strahle and D. McGonigle
                                 (Deloitte) to discuss Delaware
                                 supreme court decision and arbitration
                                 going-forward. Had to leave meeting
                                 prior to completion.
   Strahle, Robert               Meeting with S. Minars, S. Stanton, M    $513.00     0.9     $461.70
                                 Cohen, T. Stafford and D. McGonigle
                                 (Deloitte) to discuss Delaware
                                 supreme court decision and arbitration
                                 going-forward.
   Strahle, Robert               Discussed document review files          $513.00     0.3     $153.90
                                 regarding purchase agreement sample
                                 calculation with J. Letts (Deloitte)
   Strahle, Robert               Reviewed Delaware supreme courts         $513.00     0.2     $102.60
                                 ruling regarding the IA process going
                                 forward
   Subtotal for Litigation:                                                         112.0   $57,835.20

Non-Working Travel
06/21/2017
   Stafford, Ted                 Travel time to NYC for meetings with     $256.50     3.1     $795.15
                                 Foley and WEC
06/22/2017
   Stafford, Ted                 Travel time from NYC for meetings        $256.50     1.5     $384.75
                                 with Foley and WEC
   Subtotal for Non-Working Travel:                                                   4.6    $1,179.90

Preparation of Fee Applications
06/06/2017
   Cooper, Carla                 Review time reports for April monthly    $350.00     1.1     $385.00
                                 fee statement
06/07/2017
   Cooper, Carla                 Continue preparation of April monthly    $350.00     2.6     $910.00
                                 fee statement.




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Preparation of Fee Applications
06/07/2017
   Cooper, Carla                Review time reports in preparation of    $350.00     2.9     $1,015.00
                                April monthly fee statement
06/08/2017
   Cooper, Carla                Review April time reports in             $350.00     2.1      $735.00
                                preparation of fee statement
06/12/2017
   Cooper, Carla                Review expense reports for April         $350.00     2.3      $805.00
                                monthly fee statement.
06/14/2017
   Cooper, Carla                Email correspondence with                $350.00     0.2          $70.00
                                engagement team regarding April fee
                                detail reports
   Cooper, Carla                Review time reports for April monthly    $350.00     2.9     $1,015.00
                                fee statement
06/28/2017
   Cooper, Carla                Review time reports for May monthly      $350.00     2.5      $875.00
                                fee statement
    Subtotal for Preparation of Fee Applications:                                   16.6     $5,810.00
Total                                                                              136.9    $66,706.10




                                           Recapitulation
        Name                                                   Rate       Hours            Fees
        Cohen, Mark                                       $592.00          11.6       $6,867.20
        Minars, Scott                                     $592.00          18.3      $10,833.60
        Stanton, Steven                                   $592.00           6.2       $3,670.40
        Larson, Jen                                       $513.00          15.9       $8,156.70
        Stafford, Ted                                     $513.00          13.9       $7,130.70
        Strahle, Robert                                   $513.00           9.5       $4,873.50
        McGonigle, David                                  $473.00          33.7      $15,940.10
        Cooper, Carla                                     $350.00          16.6       $5,810.00


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                                Recapitulation
Name                                                Rate      Hours          Fees
Hommen, Kelly                                  $340.00          3.8      $1,292.00
Letts, Joshua                                  $340.00          2.8       $952.00
Stafford, Ted                                  $256.50          4.6      $1,179.90




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Category                 Date             Description                                         Amount



Airfare
                                          SOUTHWEST AIRLINES DALLAS Coach class
                                          roundtrip airfare for travel for Westinghouse
 Stafford, Ted           06/13/2017                                                           $457.97
                                          Electric Company for meeting with Westinghouse
                                          and Foley on progress of arbitration proceedings
                                          UNITED AIRLINES JACKSONVILLE Coach class
 Larson, Jen             06/19/2017       roundtrip airfare for Westinghouse for team         $327.44
                                          meeting
Subtotal for Airfare:                                                                         $785.41


Ground Transportation
                                          Lyft Taxi for Westinghouse Electric Company from
 Stafford, Ted           06/21/2017                                                            $32.09
                                          LGA to Hotel for meeting with Foley and WEC.
                                          LYFT *RIDE WED 3PM SAN FRANC Taxi for
 Stafford, Ted           06/21/2017       Westinghouse Electric Company from Home to           $20.01
                                          Dallas for meeting with Foley and WEC
                                          LYFT *RIDE WED 3PM SAN FRANC Taxi for
 Stafford, Ted           06/21/2017       Westinghouse Electric Company from Home to            $2.00
                                          Dallas for meeting with Foley and WEC
                                          PARKFAST 022 NEWARK Parking for travel for
 Cohen, Mark             06/22/2017       Westinghouse Electric Company for meeting            $15.00
                                          inNYC with WEC personnel and counsel
                                          662 10TH AVENUE MGM NEW YORK Taxi for
 Larson, Jen             06/22/2017       Westinghouse from airport to Foley for team          $63.07
                                          meeting
                                          NYC TAXI - VERIFONE LONG ISAL Taxi for
 Larson, Jen             06/22/2017       Westinghouse from airport to Foley for team          $51.67
                                          meeting
                                          Lyft Taxi for Westinghouse Electric Company from
 Stafford, Ted           06/22/2017                                                            $23.37
                                          DAL to home for meetingswith Foley and WEC
                                          LYFT *RIDE WED 9PM SAN FRANC Taxi for
 Stafford, Ted           06/22/2017       Westinghouse Electric Company from Foley to          $17.09
                                          LGA for meeting with Foley and WEC




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Category                  Date             Description                                             Amount



Ground Transportation
                                           LYFT *RIDE THU 6PM SAN FRANC Taxi for
 Stafford, Ted            06/22/2017       Westinghouse Electric Company from Dallas to             $23.37
                                           home for meeting with Foley and WEC
                                           VITAL TRANSPORTATIONBROOKLYN Car
 Strahle, Robert          06/22/2017       Service for Westinghouse Electric Company from          $188.60
                                           client meeting to home
                                           CONCORDE WORLDWIDE C FREEHOLD Car
 Strahle, Robert          06/23/2017       Service for Westinghouse Electric Company from          $282.77
                                           home to meeting in NYC
                                           FLYTE TYME WORLDWIDE MAHWAH Car
 Larson, Jen              06/26/2017       Service for Westinghouse Electric Company from           $97.54
                                           home to airport for NYC meeting
                                           FLYTE TYME WORLDWIDE MAHWAH Car
 Larson, Jen              06/26/2017       Service for Westinghouse Electric Company from          $105.54
                                           airport to home for NYC meeting
Subtotal for Ground
Transportation:                                                                                    $922.12


Hotel
                                           NEW YORK EASTSIDE MA NEW YORK Hotel
                                           stay for one night travel for Westinghouse Electric
 Strahle, Robert          06/21/2017                                                               $350.00
                                           Company meeting with client in NYC (capped at
                                           $350)
                                           WESTIN NY GRAND CENT NEW YORK Hotel
                                           stay for travel for one night Westinghouse Electric
 Stafford, Ted            06/22/2017                                                               $350.00
                                           Company for meeting with Foley and WEC
                                           (capped at $350)
Subtotal for Hotel:                                                                                $700.00


InternetAccess while Traveling
                                           SWA INFLIGHT WIFI WESTLAKE Internet
 Stafford, Ted            06/21/2017       Access while traveling for Westinghouse Electric          $8.00
                                           Company for meeting with Foley and WEC


                                                             2
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                        Westinghouse Electric Company
                      Deloitte Financial Advisory Services LLP
            Expenses Sorted by Category for the Fee Period
                                       June 01, 2017 - June 30, 2017



Category                  Date              Description                                                  Amount



InternetAccess while Traveling
                                            SWA INFLIGHT WIFI WESTLAKE Internet
 Stafford, Ted            06/22/2017        Access while traveling for Westinghouse Electric              $8.00
                                            Company for meeting with Foley and WEC
Subtotal for
InternetAccess while
Traveling:                                                                                               $16.00


Meals
                                            HUDSONNEWS ST27 000 FLUSHING Dinner
                                            during travel for Westinghouse Electric Company
 Stafford, Ted            06/22/2017                                                                      $7.73
                                            for meeting with Foley and WEC. ATTENDEES:
                                            Ted Stafford
Subtotal for Meals:                                                                                       $7.73
Total                                                                                                  $2,431.26




                                            Recapitulation
           Category                                                                       Amount

           Ground Transportation                                                         $922.12

           Airfare                                                                       $785.41

           Hotel                                                                         $700.00

           InternetAccess while Traveling                                                 $16.00

           Meals                                                                               $7.73


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